Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

FIGURE 6—2—PARTICULATE MIGRATION
POTENTIAL FACTOR VALUES—CONCLUDED
Particulate

migration
potential as-

value

For site locations not on Figure 6-2, and
for site locations near the boundary points
on Figure 6-2, assign a value as follows.
First, calculate a Thornthwaite P-E index
using the following equation:

12 10/9
PE =} 115[P,/(T; -10)]
where:
PE = Thornthwaite P-E index.

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

P, = Mean monthly precipitation for month i,
in inches.

T,; = Mean monthly temperature for month i,
in degrees Fahrenheit; for any month
having a mean monthly temperature less
than 28.4 °F, use 28.4 °F.

Based on the calculated Thornthwaite P-E

index, assign a source particulate migration

potential value to the site from table 6-10.

Assign this same value to each source at the

site.

TABLE 6—10—PARTICULATE MIGRATION
POTENTIAL VALUES

Assigned

Thomihwaite P-E Index value
Greater than 150 oO
85 to 150 6
50 to less than 85 ti
Less than 50 7

6.1.2.2.4 Calculation of particulate potential
to release value. Determine the particulate
potential to release value for each source as
illustrated in table 6-8. For each source, sum
its particulate source type factor value and
particulate migration potential factor value
and multiply this sum by its particulate con-
tainment factor value. Select the highest
product calculated for the sources evaluated
and assign it as the particulate potential to
release value for the site. Enter the value in
table 6-1.

6.1.2.3 Calculation of potential to release fac-
tor value for the site. Select the higher of the
gas potential to release value assigned in
section 6.1.2.1.4 and the particulate potential
to release value assigned in section 6.1.2.2.4.
Assign the value selected as the site poten-
tial to release factor value. Enter this value
in table 6-1.

6.1.3 Calculation of likelihood of release fac-
tor category value. If an observed release is
established, assign the observed release fac-
tor value of 650 as the likelihood of release
factor category value. Otherwise, assign the
site potential to release factor value as the
likelihood of release factor category value.
Enter the value in table 6-1,

6.2 Waste characteristics. Evaluate the
waste characteristics factor category based
on two factors: toxicity/mobility and haz-
ardous waste quantity. Evaluate only those
hazardous substances available to migrate
from the sources at the site to the atmos-
phere. Such hazardous substances include:

«* Hazardous substances that meet the cri-
teria for an observed release to the atmos-
phere.

« All gaseous hazardous substances associ-
ated with a source that has a gas contain-
ment factor value greater than 0 (see section
2.2.2, 2.2.3, and 6.1.2.1,1).

e All particulate hazardous substances as-
sociated with a source that has a particulate

212

Page 1 of 50
Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 2 of 50

Environmental Protection Agency

containment factor value greater than 0 (see
section 2.2.2, 2.2.3, and 6.1.2.2.1).

6.2.1 Tozicity/mobility. For each hazardous
substance, assign a toxicity factor value, a
mobility factor value, and a combined tox-
icity/mobility factor value as specified
below. Select the toxicity/mobility factor
value for the air migration pathway as speci-
fied in section 6.2.1.3.

6.2.1.1 Tozicity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in section 2.4.1.1,

6.2.1.2 Mobility. Assign a mobility factor
value to each hazardous substance as fol-
lows:

* Gaseous hazardous substance.

-Assign a mobility factor value of 1 to each

gaseous hazardous substance that meets

the criteria for an observed release to the
atmosphere.

-Assign a mobility factor value from table

@11, based on vapor pressure, to each gas-

eous hazardous substance that does not

meet the criteria for an observed release.

« Particulate hazardous substance.

~Assign a mobility factor value of 0.02 to
each particulate hazardous substance that
meets the criteria for an observed release
to the atmosphere.

-Assign a mobility factor value from Fig-
ure 6-3, based on the site’a location, to
each particulate hazardous substance that
does not meet the criteria for an observed
release. (Assign all such particulate haz-
ardous substances this same value.)

-For site locations not on Figure 63 and
for site locations near the boundary points
on Figure 6-3, assign a mobility factor
value to each particulate hazardous sub-
stance that does not meet the criteria for
an observed release as follows:

Pt. 300, App. A
—Caleulate a value M:
M = 0.0182 (U/[PE}?)
where:
U = Mean average annual wind speed (meters
per second).

PE = Thornthwaite P-E index from section
6.1,2.2.3.

-Based on the value M, assign a mobility
factor value from table 6-12 to each par-
ticulate hazardous substance.
* Gaseous and particulate hazardous sub-
stances,

-For a hazardous substance potentially
present in both gaseous and particulate
forms, select the higher of the factor val-
ues for gas mobility and particulate mobil-
ity for that substance and assign that
value as the mobility factor value for the
hazardous substance.
6.2.1.3 Calculation of toricity/mobility factor
value. Assign each hazardous substance a
toxicity/mobility factor value from table 6-
13, based on the values assigned to the haz-
ardous substance for the toxicity and mobil-
ity factors. Use the hazardous substance
with the highest toxicity/mobility factor
value to assign the value to the toxicity/mo-
bility factor for the air migration pathway.
Enter this value in table 6-1.

TABLE 6-11—GaAS MOBILITY FACTOR VALUES

Vapor pressure (Torr) pecans
Greater than 10? .., 1.0
Greater than 10-3 to 0.2
Greater than 10-5 to 10-* .. 0.02
Greater than 10-7 to 10-9 0.002
Less than or equal to 10-7 ... 0.0002

“Do not round to nearest integer.

213
PIG

Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

Page 3 of 50

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"Do not round in nearest integer.
— FIGURE 6-3

PARTICULATE MOBILITY FACTOR VALUES"

(VOHIPZ 6-1-2) | "UD a> OF
ST

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 4 of 50

"Ds meromea a ere FIGURE 6-3
PARTICULATE MOBILITY FACTOR VALUES"
(CONTINUED)

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Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 5 of 50

Pt. 300, App. A 40 CFR Ch. | (7-1-19 Edition)

0002

"Do not round to nearest integer,
FIGURE 6-3
PARTICULATE MOBILITY FACTOR VALUES"
(CONTINUED)

216
6.2.2 Hazardous waste quantity. Assign a
hazardous waste quantity factor value for
the air migration pathway as specified in
section 2.4.2, Enter this value in table 6-1.

6.2.38 Calculation of waste characteristics
factor category value. Multiply the toxicity/
mobility factor value and the hazardous
waste quantity factor value, subject to a
maximum product of 1 = 108. Based on this
product, assign a value from table 2-7 (sec-
tion 2.4.3.1) to the waste characteristics fac-
tor category. Enter this value in table 6-1.

6.3 Targets.

Evaluate the targets factor category based
on four factors: nearest individual, popu-
lation, resources, and sensitive environ-
ments. Include only those targets (for exam-
ple, individuals, sensitive environments) lo-
cated within the 4-mile target distance
limit, except: if an observed release is estab-
lished beyond the 4-mile target distance
limit, include those additional targets that
are specified below in this section and in sec-
tion 6.3.4.

Evaluate the nearest individual and popu-
lation factors based on whether the target
populations are subject to Level I concentra-
tions, Level IT concentrations, or potential

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21
Environmental Protection Agency Pt. 300, App. A
FIGURE 6—3—PARTICULATE MOBILITY FACTOR TABLE 6—12—PARTICULATE MOBILITY FACTOR

VALUES—CONCLUDED VALUES
Particulated Assigned
Location re oe: _ value ®
value Greater than 1.4 x 10-2 0.02
Greater than 4.4 x 10-3 to 1.4 x 10-2 .. 0.008
0.0002 Greater than 1.4 x 10-9 to 4.4 x 107? .. 0.002
0.002 Greater than 4.4 x 1074 to 1.4.x 1073 .. 0.0008
0.00008 § Greater than 1.4.x 10-4 to 4.4 x 10-*.. 0.0002
aerate Greater than 4.4 x 10-5 to 1.4 x 10~4 .. 0.00008
oe Less than or equal to 4.4 x 10-3 0.00002
0.00002 *Do not round to t :
5) not rou nearest integer.
0.002
Yap Island 0.00008
American Virgin Islands
St. Croix 9.0008
St. John 0.0002
St Thomas 0.0002
TABLE 6-13—TOXICITY/MOBILITY FACTOR VALUES
Toxicity factor val
Mobility factor value =
10,000 | 1,000 | 100 10 1 0
1.0 70,000 1,000 100 10 1] 0
02 2,000 200 20 2 02) oO
0.02 200 20 2 o2 0.02) 0
0.006 80 8 08; 6.08) 0.008) Oo
0.002 20 2 02} o02/ o.002) oO
0.0008 8 08} 0.08} 0.008) 0.0008) oO
0.0002 2 0.2| 0.02/ 0.002) 0.0002) 0
0.00008 0.8 0.08} 0.008) 0.0008/ o.00008| oO
0.00002 0.2 0.02} 0.002| o.0002| 0.00002) 0
Do not round to nearest integer.

contamination. Determine which applies to a
target population as follows.

If no samples meet the criterla for an ob-
served release to air and if there is no ob-
served release by direct observation, con-
sider the entire population within the 4-mile
target distance limit to be subject to poten-
tial contamination,

If one or more samples meet the criteria
for an observed release to air or if there is an
observed release by direct observation,
evaluate the population as follows:

« Determine the most distant sample loca-
tion that meets the criteria for Level I con-
centrations as specified in sections 2.5.1 and
2.5.2 and the most distant location (that is,
sample location or direct observation loca-
tion) that meets the criteria for Level II con-
centrations. Use the health-based bench-
marks from table 614 in determining the
level of contamination for sample locations.
If the most distant Level II location is closer
to a source than the most distant Level I
sample location, do not consider the Level IL
location.

* Determine the single most distant loca-
tion (sample location or direct observation
location) that meets the criteria for Level I
or Level II concentrations,

217

Page 6 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

eIf this single most distant location is
within the 4-mile target distance limit, iden-
tify the distance categories from table 6-15
in which the selected Level I concentrations
sample and Level II concentrations sample
(or direct observation location) are located:
-Consider the target population anywhere
within this furthest Level I distance cat-
egory, or anywhere within a distance cat-
egory closer to a source at the site, as sub-
ject to Level I concentrations,
—Conaider the target population located he-
yond any Level I distance categories, up to
and including the population anywhere
within the furthest Level I distance cat-
egory, as subject to Level II concentra-
tions.
—Consider the remainder of the target pop-
ulation within the 4-mile target distance
limit as subject to potential contamina-
tion,
« If the single most distant location is be-
yond the 4-mile target distance limit, iden-
tify the distance at which the selected Level

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

I concentrations sample and Level IT con-
centrations sample (or direct observation lo-
cation) are located:

-If the Level I sample location is within
the 4-mile target distance limit, identify
the target population subject ta Level I
concentrations as specified above.

-If the Level I sample location is beyond
the 4-mile target distance limit, consider
the target population located anywhere
within a distance from the sources at the
site equal to the distance to this sample lo-
Cation to be subject to Level I concentra-
tions and include them in the evaluation.
—Consider the target population located be-
yond the Level I target population, but lo-
cated anywhere within a distance from the
sources at the site equal to the distance to
the selected Level II location, to be subject
to Level II concentrations and include
them in the evaluation.

-Do not include any target population as
subject to potential contamination.

TABLE 6-14—HEALTH-BASED BENCHMARKS FOR HAZARDOUS SUBSTANCES IN AIR

* Concentration corresponding to National Ambient Air Quality Standard (NAAQS).
e Concentration corresponding to National Emission Standards for Hazardous Air Pollutants

(NESHAPs).

e Screening concentration for cancer corresponding to that concentration that corresponds to
the 10-6 individual cancer risk for inhalation exposures.

e Screening concentration for noncancer toxicological responses corresponding to the Ref-
erence Concentration (RfC) for inhalation exposures.

TABLE 6—-15—AIR MIGRATION PATHWAY
DISTANCE WEIGHTS

Distance category (miles)

0 1.0
Greater than 0 to V4 ......... et

*Do not round to nearest integer.

6.3.1 Nearest individual. Assign the nearest
individual factor a value as follows:

« If one or more residences or regularly oc-
cupied buildings or areas is subject to Level
I concentrations as specified in section 6.3,
assign a value of 50.

e If not, but if one or more a residences or
regularly occupied buildings or areas is sub-
ject to Level II concentrations, assign a
value of 45.

e If none of the residences and regularly
occupied buildings and areas is subject to
Level I or Level IT concentrations, assign a
value to this factor based on the shortest
distance to any residence or regularly occu-

.

pied building or area, as measured from any
source at the site with an alr migration con-
tainment factor value greater than 0. Based
on this shortest distance, assign a value
from table 6-16 to the nearest individual fac-
tor

Enter the value assigned in table 6-1.

TABLE 6-16—NEAREST INDIVIDUAL FACTOR
VALUES

Di to

‘ake

individual (miles)

Level |
Level II a
Oto
Greater than Vs to V4
Greater than % to 1/2
Greater than ‘4 to 1 .....
G than i

* Distance does not apply.

6.3.2 Population. In evaluating the popu-
lation factor, count residents, students, and
workers regularly present within the target
distance limit. Do not count transient popu-
lations such as customers and travelers pass-
ing through the area.

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218

Page 7 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

In estimating residential population, when
the estimate is based on the number of resi-
dences, multiply each residence by the aver-
age number of persons per residence for the
county in which the residence is located.

6.3.2.1 Level of contamination. Evaluate the
population factor based on three factors:
Level I concentrations, Level II concentra-
tions, and potential contamination.

Evaluate the population aubject to Level I
concentrations (see section 6.3) as specified
in section 6.3.2.2, the population subject to
Level II concentrations as specified in sec-
tion 6.3.2.3, and the population subject to po-
tential contamination as specified in section
6.3.2.4,

For the potential contamination factor,
use population ranges in evaluating the fac-
tor as specified in section 6.3.2.4. For the
Level I and Level IT concentrations factors,
use the population estimate, not population
ranges, in evaluating both factors.

6.3.2.2 Level I concentrations. Sum the
number of people subject to Level I con-
centrations. Multiply this sum by 10. Assign
the product as the value for this factor.
Enter this value in table 6-1.

6.3.2.3 Level IJ concentrations. Sum the
number of people subject to Level I con-
centrations. Do not include those people al-
ready counted under the Level I concentra-
tions factor. Assign this sum as the value for
this factor. Enter this value in table 6-1.

6.3.2.4 Potential contamination. Determine
the number of people within each distance

Filed 06/22/21

Pt. 300, App. A

category of the target distance limit (see
table 6-15) who are subject to potential con-
tamination. Do not include those people al-
ready counted under the Level I and Level 0
concentrations factors.

Based on the number of people present
within a distance category, assign a dis-
tance-weighted population value for that dis-
tance category from table 6-17. (Note that
the distance-weighted population values in
table 6-17 incorporate the distance weights
from table 6-15. Do not multiply the values
from table 6-17 by these distance weights.)

Calculate the potential contamination fac-
tor value (PI) as follows:

12
PI=— > W.
where:

W, = Distance-weighted population from
table 6-17 for distance category 1.
n= Number of distance categories.

If PI is less than 1, do not round it to the
nearest integer; if PI is 1 or more, round to
nearest integer. Enter this value in table

1.
6.3.2.5 Calculation of population factor
value. Sum the factor values for Level I con-
centrations, Level It concentrations, and po-
tential contamination. Do not round this
sum to the nearest integer. Assign this sum
as the population factor value. Enter this
value in table 6-1.

219

Page 8 of 50
022

Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

TABLE 6-17—DISTANCE-WEIGHTED POPULATION VALUES FOR POTENTIAL CONTAMINATION FACTOR FOR AIR PATHWAY”

Number of people within the distance category
Distance category (mites) p | tte | 1110 | 3120 | 101 t0 | 301 © | 4901 | aot to | 19,001 | ao.001 to | 100,001 | 300,001 | 1,000,001
10 | 30° | toa | 300° [4,000 | 5hhq | 10.000 | slop | 199.000 | sog'pa0 | 1,000,000 | 3,000,000
On a source 0 4 17 53/ 184) S22| 1693/ S.214/ 16,925) 52,137) 163,246) 521,380 | 1,692,455
Greater than 0 to % .. o 1 4 13 41) 131 408 1,304 4,081 13,034 40,812) 130,340) 408,114
Greater than V4 to Ve o} o2/ og 3 8 28 a8 282 882 2,815 8615| 28,159] 68,159
Groatwr than V2 to 1 ... o| oo6] o3| o9 3 8 26 83 261 834 2612 8242) 26,119
Greater than 1 lo 2 0) O02) oOo 03 a8 3 8 2 8 266 833 2.659 6.326
Greater than 2 to 3 o| 0009) oo8f of] o4 1 4 12 38 120 a5 1,199 3,755
Greater than 3 to 4 O| 0005) 0.02) O07 a2 OF 2 7 23 73 229. TO 2,285

* Round the sumber of people present within a dislance calegory to nearest Integer. Oo not round the assigned distance-weightied pogulation value to nearest integer,

Page 9 of 50

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Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

6.3.3 Resources. Evaluate the resources
factor as follows:

* Assign a value of 4 if one or more of the
following resources are present within one-
half mile of a source at the site having an air
migration containment factor value greater
than 0:

—-Commercial agriculture.

—Commercial silviculture.

-Major or designated recreation area.

e Assign a value of 0 if none of these re-
sources is present.

Enter the value assigned in table 6-1,

6.3.4 Sensitive environments. Evaluate sen-
sitive environments based on two factors: ac-
tual contamination and potential contami-
nation. Determine which factor applies as
follows.

If no samples meet the criteria for an ob-
served release to air and if there is no ob-
served release by direct observation, con-
sider all sensitive environments located, par-
tially or wholly, within the target distance
limit to be subject Lo potential contamina-
tion.

If one or more samples meet the criteria
for an observed release to air or if there is an
observed release by direct observation, de-
termine the most distant location (that is,
sample location or direct observation loca-
tion) that meets the criteria for an observed
release:

«If the most distant location meeting the
criteria for an observed release is within the
4-mile target distance limit, identify the dis-
tance category from table 6-15 in which it is
located:

—Consider sensitive environments located,

partially or wholly, anywhere within this

distance category or anywhere within a

distance category closer to a source at the

site as subject to actual contamination.

-Consider all other sensitive environments

located, partially or wholly, within the

target distance limit as subject to poten-
tial contamination.

« If the most distant location meeting the
criteria for an observed release is beyond the
4-mile target distance limit, identify the dis-
tance at which it is located:

—Consider sensitive environments located,
partially or wholly, anywhere within a dis-
tance from the sources at the site equal to
the distance to this location to be subject
to actual contamination and include all
such sensitive environments in the evalua-
tion.

-Do not include any sensitive environ-

ments as subject to potential contamina-

tion.

6.3.4.1 Actual contamination. Determine
those sensitive environments subject to ac-
tual contamination (i.e., those located par-
tially or wholly within a distance category
subject to actual contamination). Assign
value(s) from table 4-23 (section 4.1.4.3.1.1) to

Filed 06/22/21

Pt. 300, App. A

each sensitive environment subject to actual
contamination.

For those sensitive environments that are
wetlands, assign an additional value from
table 6-18. In assigning a value from table 6-
18, include: only those portions of wetlands
located within distance categories subject to
actual contamination. If a wetland is located
Partially in a distance category subject to
actual contamination and partially in one
subject to potential contamination, then
solely for purposes of table 6-18, count the
portion in the distance category subject to
potential contamination under the potential
contamination factor in section 6.3.4.2, De-
termine the total acreage of wetlands within
those distance categories subject to actual
contamination and assign a value from table
6-18 based on this total acreage.

Calculate the actual contamination factor
value (EA) as follows;

n
EA=WA+)'S,
i=l

where:

WA = Value assigned from table 6-18 for wet-
lands in distance categories subject to
actual contamination.

8, = Value(s) assigned from table 4-23 to sen-
sitive environment i.

n = Number of sensitive environments sub-
ject to actual contamination.

Enter the value assigned in table 6-1.

TABLE 6-18—WETLANDS RATING VALUES FOR
AIR MIGRATION PaTHway 4

Watland area (acres)

Less than 1 0
1 to 50 25
Greater than 50 to 100 75
Greater than 100 to 150 125
Greater than 150 to 200 ... 175
Greater than 200 to 300 .... 250
Greater than 300 ta 400 350
Greater than 500 600

*Wetlands as defined in 40 CFR section 230.3.

6.3.4.2 Potential contamination. Determine
those sensitive environments located, par-
tially or wholly, within the target distance
limit that are subject to potential contami-
nation. Assign value(s) from table 4-23 to
each sensitive environment subject to poten-
tial contamination. Do not include those
sensitive environments already counted for
table 4-23 under the actual contamination
factor.

For each distance category subject to po-
tential contamination, sum the value(s) as-
signed from table 4-23 to the sensitive envi-
ronments in that distance category. If a sen-
sitive environment is located in more than
one distance category, assign the sensitive

221

Page 10 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

environment only to that distance category
having the highest distance weighting value
from table 6-15.

For those sensitive environments that are
wetlands, assign an additional value from
table 6-18, In assigning a value from table 6-
18, include only those portions of wetlands
located within distance categories aubject to
potential contamination, as specified in sec-
tion 6.3.4.1. Treat the wetlands in each sepa-
rate distance category as separate sensitive
environments solely for purposes of applying
table 6-18. Determine the total acreage of
wetlands within each of these distance cat-
efories and assign a separate value from
table 6-18 for each distance category.

Calculate the potential contamination fac-
tor value (EP) as follows:

1 ™
BP = 75 2.(1¥i+8;P3)

no
8) = DS;
i=1

8 = Value(s) assigned from table 4-23 to sen-
sitive environment in distance category
4;

n = Number of sensitive environments sub-
ject to potential contamination.

Wj) = Value assigned from table 6-18 for wet-
land area in distance category j.

Dj = Distance weight from table 6-15 for dis-
tance category j.

m = Number of distance categories subject to
potential contamination.

If EP is less than 1, do not round it to the
nearest integer; if EP is 1 or more, round to
the nearest integer. Enter the value assigned
in table 6-1.

6.3.4.3 Calculation of sensitive environments
factor value, Sum the factor values for actual
contamination and potential contamination,
Do not round this sum, designated as EB, to
the nearest integer,

Because the pathway score based solely on
sensitive environments is limited to a max-
imum of 60, use the value EB to determine
the value for the sensitive environments fac-
tor as follows:

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

* Multiply the values assigned to likeli-
hood of release (LR), waste characteristics
(WC), and EB. Divide the product by 82,500.

-If the result is 60 or less, assign the value

EB as the sensitive environments factor

value.

-If the result exceeds 60, calculate a value

EC as follows:

_ (60)(82,500)
(LR)(WC)

Assign the value EC as the sensitive envi-
ronmenta factor value. Do not round this
value to the nearest integer.

Enter the value assigned for the sensitive

environments factor in table 6-1.

6.3.5 Calculation of targets factor category
value. Sum the nearest individual, popu-
lation, resources, and sensitive environments
factor values. Do not round this sum to the
nearest integer. Assign this sum as the tar-
gets factor category value. Enter this value
in table 6-1.

6.4 Calculation of air migration pathway
score. Multiply the values for likelihood of
release, waste characteristics, and targets,
and round the product to the nearest integer.
Then divide by 82,500. Assign the resulting
value, subject to a maximum value of 100, as
the air migration pathway acore (S,). Enter
this score in table 6-1.

7.0 Sites Containing Radioactive Substances.

In general, radioactive substances are haz-
ardous substances under CERCLA and should
be considered in HRS scoring. Releases of
certain radioactive substances are, however,
excluded from the definition of “release” in
section 101(22) of CERCLA, as amended, and
should not be considered in HRS scoring.

Evaluate sites containing radioactive sub-
stances using the instructions specified in
sections 2 through 6, supplemented by the in-
structions in this section. Those factors de-
noted with a “yes” in table 7-1 are evaluated
differently for sites containing radioactive
substances than for sites containing only
nonradioactive hazardous substances, while
those denoted with a “no” are not evaluated
differently and are not addressed in this sec-
tion.

222,

Page 11 of 50
Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 12 of 50

TABLE 7-1—HRS FACTORS EVALUATED DIFFERENTLY FOR RADIONUCLIDES

Ground water Status poe oe sues | Son of | Status« Iraruston Status * Air pathway Status®

5
AoueBy U0YOe}0ld jJUEWUOMJAUZ

No.
No.

No.

No.

No.

No.

No.

| TOIGHY sence Vat csc Toxicity/Degrada- | Yes/Y¥es ..| TOXICITY ...rnnnm Yes.
Hazardous Waste | Yes ....... enon Vii | Yeu MODY rons No.
— ee Waste | Yes.

Ww ‘ddy ‘oot “ld

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 13 of 50

TABLE 7-1—HRS FACTORS EVALUATED DIFFERENTLY FOR RADIONUCLIDES—Continued =
Subsurface
Sol exposure 8
‘Ground water ‘Surface water intrusion
pathway ‘Status* pelhway ‘Stalus* ‘of ‘Status * gemponent a ‘Status* Alr pathway ‘Status* =
3
Targats Targets Targets Targets Targets es
tection Area Ho a= ‘Sensitive Environ- | Yes? ...... | Resources 0... WO. ences | eee rem neemsicceimes | sninmremenreens ‘Sensitive Erviron- | No,
mans. ments.
Human Food Yee? none Terrestrial Sen- No.
‘Chain Indivichial, ‘sitive Environ
ments.
Human Food Yes? ..... | Nearby Individual | No ..........
Chain Popu- Population Within | No.
lation. 4 Milla.

a—Factore evalusied differently are denoled by “yee”; factors not evaluated differently are denoted by “no”.
‘b-—Differance |s in the determination of Lovel | and Lovel Ii concentrations.

(UCHIPI 61-1-Z) | ‘UD 44D OF
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

In general, sites containing mixed radio-
active and other hazardous substances in-
volve more evaluation than sites containing
only radionuclides. For sites containing
mixed radioactive and other hazardous sub-
stances, HRS factors are evaluated based on
considerations of both the radioactive sub-
stances and the other hazardows substances
in order to derive a single set of factor val-
ues for each factor category in each of the
four pathways. Thus, the HRS score for these
sites reflects the combined potential hazards
posed by both the radioactive and other haz-
ardous substances.

Section 7 is organized by factor category,
similar to sections 3 through 6. Pathway-spe-
cific differences in evaluation criteria are
specified under each factor category, as ap-
propriate, These differences apply largely to
the soil exposure and subsurface intrusion
pathway and to sites containing mixed radio-
active and other hazardous substances, All
evaluation criteria specified in sections 2
through 6 must be met, except where modi-
fied in section 7,

7.1 Likelihood of release/ikelihood of expo-
sure, Evaluate likelihood of release for the
three migration pathways and likelihood of
exposure for the soil exposure and subsurface
intrusion pathway as specified in sections 2
through 6, except: establish an observed re-
lease, observed contamination, and/or ob-
served exposure as specified in section 7.1.1.
When an observed release or exposure cannot
be established for a migration pathway or
the subsurface intrusion component of the
soil exposure and subsurface intrusion path-
way, evaluate potential to release as speci-
fied in section 7.1.2. When observed contami-
nation cannot be established, do not evalu-
ate the soil exposure component of the soil
exposure and subsurface intrusion pathway.

7.1.1 Observed release/observed contamina-
tion/observed exposure. For radioactive sub-
stances, establish an observed release for
each migration pathway by demonstrating
that the site has released a radioactive sub-
stance to the pathway (or watershed or aqui-
fer, a8 appropriate); establish observed con-
tamination or observed exposure for the soil
exposure and subsurface intrusion pathway
as indicated below. Base these demonstra-
tions on one or more of the following, as ap-
propriate to the pathway being evaluated:

* Direct observation:

—For each migration pathway, a material
that contains one or more radionuclides
has been seen entering the atmosphere,
surface water, or ground water, as appro-
priate, or is known to have entered ground
water or surface water through direct dep-
osition, or

—For the surface water migration pathway,
a source area containing radioactive sub-
stances has been flooded at a time that ra-
dioactive substances were present and one

Filed 06/22/21

Pt. 300, App. A

or more radioactive substances were in

contact with the flood waters.

—For the subsurface intrusion component of
the soil exposure and subsurface intrusion
pathway, 9 material that contains one or
more radionuclides has been observed en-
tering a regularly occupied structure via
the subsurface or is known to have entered
a regularly occupied structure via the sub-
surface, Also, when evidence supports the
inference of subsurface intrusion of a ma-
terial that contains one or more radio-
nuclides by the site into a regularly occu-
pied structure, demonstrated adverse ef-
fects associated with that release may also
be used to establish observed exposure by
direct observation,

e Analysis of radionuclide concentrations
in samples appropriate to the pathway (that
is, ground water, soil, air, indoor air, soil
gas, surface water, benthic, or sediment sam-
ples):

—For radionuclides that occur naturally and
for radionuclides that are ubiquitous in the
environment:

@ Measured concentration (in units of ac-
tivity, for example, pCi per kilogram
(pCi/kg], pCi per liter [pCi/L], pCi per
cubic meter [pCi/m3]) of a given radio-
nuclide in the sample are at a level that:

° Equals or exceeds a value 2 standard de-
viations above the mean site-specific
background concentration for that radio-
nuclide in that type of sample, or

© Exceeds the upper-limit value of the
range of regional background concentra-
tion values for that specific radionuclide
in that type of sample.

@ Some portion of the increase must be at-
tributable to the site to establish the ob-
served release (or observed contamina-
tion or observed exposure), and

@ For the soil exposure component of the
aoil exposure and subsurface intrusion
pathway only, the radionuclide must also
be present at the surface or covered by 2
feet or less of cover material (for exam-
ple, soil) to establish observed contami-
nation.

—For man-made radionuclides without ubia-
uitous background concentrations in the
environment:

@ Measured concentration (in units of ac-
tivity) of a given radionuclide in a sam-
ple equals or exceeds the sample quan-
titation limit for that specific radio-
nuclide in that type of media and is at-
tributable to the site.

@ However, if the radionuclide concentra-
tion equals or exceeds its sample quan-
titation limit, but its release can also be
attributed to one or more neighboring
sites, then the measured concentration
of that radionuclide must also equal or
exceed a value either 2 standard devi-
ations above the mean concentration of

225

Page 14 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

that radionuclide contributed by those
neighboring sites or 3 times its back-
ground concentration, whichever is
lower.

BH If the sample quantitation limit cannot
be established:

OIf the sample analysis was performed
under the EPA Contract Laboratory Pro-
gram, use the EPA contract-required
quantitation limit (CRQL) in place of the
sample quantitation limit in establishing
an observed release (or observed con-
tamination or observed exposure).

O If the sample analysis is not performed
under the EPA Contract Laboratory Pro-
gram, use the detection limit in place of
the sample quantitation limit.

®@ For the soil exposure component of the
soil exposure and subsurface intrusion
pathway only, the radionuclide must also
be present at the surface or covered by 2
feet or less of cover material (for exam-
ple, soil) to establish observed contami-
nation,

* Gamma radiation measurements (applies
only to observed contamination or observed
exposure in the soil exposure and subsurface
intrusion pathway):

—The gamma radiation exposure rate, as
measured in microroentgens per hour (wR/
br) using a survey instrument held 1 meter
above the ground surface or floor or walls
of a structure (or 1 meter away from an
aboveground source for the soil exposure
component), equals or exceeds 2 times the
site-specific background gamma radiation
exposure rate.

—Some portion of the increase must be at-
tributable to the site to establish observed
contamination or observed exposure. The
‘gamma-emitting radionuclides do not have
to be within 2 feet of the surface of the
source

For the three migration pathways and for
the subsurface intrusion component of the
soil exposure and subsurface intrusion path-
way, if an observed release or observed expo-
sure can be established for the pathway (or
component, threat, aquifer, or watershed, as
appropriate), assign the pathway (or compo-
nent, threat, aquifer, or watershed) an ob-
served release or observed exposure factor
value of 560 and proceed to section 7.2. If an
observed release or observed exposure cannot
be established, assign an observed release or
observed exposure factor value of 0 and pro-
ceed to section 7.1.2.

For the soil exposure component of the soil
exposure and subsurface intrusion pathway,
if observed contamination can be estab-
lished, assign the likelihood of exposure fac-
tor for resident population a value of 550 if
there is an area of observed contamination
in one or more locations listed in section
5.1.1; evaluate the likelihood 9f exposure fare
tor for nearby population as @pecitied fy see
tion 5.1.2.1; and proceed to section 7.2. If ob-

Filed 06/22/21

40 CFR Ch. | (7=1=19 Edition)

served contamination cannot be established,
do not evaluate the soil exposure component
of the soil exposure and aubsurface intrusion
pathway.

At sites containing mixed radioactive and
other hazardous substances, evaluate ob-
served release (or component, observed con-
tamination or observed exposure) separately
for radionuclides as described in this section
and for other hazardous substances as de-
soribed in sections 2 through 6.

For the three migration pathways and the
subsurface intrusion component of the soil
exposure and subsurface intrusion pathway,
if an observed release or observed exposure
can be established based on either radio-
nuclides or other hazardous substances, or
both, assign the pathway (or threat, aquifer,
or watershed) an observed release or ob-
served exposure factor value of 550 and pro-
ceed to section 7.2. If an observed release or
observed exposure cannot be established
based on either radionuclides or other haz-
ardous substances, assign an observed re-
lease or observed exposure factor value of 0
and proceed to section 7.1.2.

For the soil exposure component of the soil
exposure and subsurface intrusion pathway,
if observed contamination can be established
based on either radionuclides or other haz-
ardous substances, or both, assign the likeli-
hood of exposure factor for resident popu-
lation a value of 550 if there is an area of ob-
served contamination in one or more loca-
tions listed in section 5.1.1; evaluate the
likelihood of exposure factor for nearby pop-
ulation as specified in section 5.1.2.1; and
proceed to section 7.2. If observed contami-
nation cannot be established based on either
radionuclides or other hazardous substances,
do not evaluate the soil exposure component
of the soil exposure and subsurface intrusion
pathway.

7.1.2 Potential to release/potential for ex-
posure. For the three migration pathways
and the subsurface intrusion component of
the soil exposure and subsurface intrusion
pathway, evaluate potential to release or po-
tential for exposure for sites containing
radionuclides in the same manner as speci-
fied for sites containing other hazardous sub-
stances. Base the evaluation on the physical
and chemical properties of the radionuclides,
not on their level of radioactivity. For the
subsurface intrusion component of the soil
exposure and subsurface intrusion pathway,
if the potential for exposure is based on the
presence of gamma emitting radioactive sub-
stances, assign a potential for exposure fac-
tor value of 500 only if the contamination is
found within 2 feet beneath a regularly occu-
pied structure, otherwise assign a potential
for exposure factor value of 0.

For sites containing mixed radioactive and
other hazardous substances, evaluate poten-
tial to release or potential for exposure con-
sidering radionuclides and other hazardous

226

Page 15 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

substances together. Evaluate potential to
release for each migration pathway and the
potential for exposure for the subsurface in-
trusion component of the soil exposure and
subsurface intrusion pathway as specified in
sections 3 through 6, as appropriate.

7.2 Waste characteristics. For radioactive
substances, evaluate the human toxicity fac-
tor, the ecosystem toxicity factor, the sur-
face water persistence factor, and the haz-
ardous waste quantity factor as specified in
the following sections. Evaluate all other
waste characteristic factors as specified in
sections 2 through 6.

7.2.1 Human Toxicity. For radioactive
substances, evaluate the human toxicity fac-
tor as specified below, not as specified in sec-
tion 2.4.1.1.

Assign human toxicity factor values to
those radionuclides available to the pathway
based on quantitative dose-response param-
eters for cancer riske as follows:

* Evaluate radionuclides only on the basis
of carcinogenicity and assign all radio-
nuclides to weight-of-evidence category A, or
weight-of-evidence category ‘‘Carcinogenic
to Humans”.

« Assign a human toxicity factor value
from Table 7-2 to each radionuclide based on
its slope factor (also referred to as a ¢

Filed 06/22/21

Pt. 300, App. A

of 1,000 for all those radionuclides even if
nonradioactive hazardous substances avail-
able to the pathway are assigned human tox-
icity factor values greater than 0. Similarly,
if all nonradioactive hazardous substances
available to the pathway are assigned a
human toxicity factor value of 0, use a de-
fault human toxicity factor value of 100 for
all these nonradioactive hazardous sub-
stances even if radionuclides available to the
pathway are assigned human toxicity factor
values greater than 0.

7.2.2 Ecosystem toxicity. For the surface
water environmental threat (see sections
4.1.4 and 4.2.4). assign an ecosystem toxicity
factor valne to radionuclides (alone or com-
bined chemically or mixed with other haz-
ardous substances) using the same slope fac-
tors and procedures specified for the human
toxicity factor in section 7.2.1, except: use a
default of 100, not 1,000, if all radionuclides
eligible to be evaluated for ecosystem tox-
icity receive an ecosystem toxicity factor
value of 0.

TABLE 7-2—TOXICITY FACTOR VALUES FOR

potency factor).

—For each radionuclide, use the higher of
the slope factors for inhalation and inges-
tion to assign the factor value.

—If only one slope factor is available for the
radionuclide use it to assign the toxicity
factor value.

—If no slope factor is available for the radio-
nuclide, assign that radionuclide a toxicity
factor value of 0 and use other radio-
nuclides for which a slope factor is avail-
able to evaluate the pathway.

«If all radionuclides available to a par-
ticular pathway are assigned a human tox-
icity factor value of 0 (that is, mo slope fac-
tor is available for all the radionuclides), use
a default human toxicity factor value of 1,000
as the human toxicity factor value for all
radionuclides available to the pathway.

At sites containing mixed radioactive and
other hazardous substances, evaluate the
toxicity factor separately for the radioactive
and other hazardous substances and assign
each a separate toxicity factor value, This
applies regardless of whether the radioactive
and other hazardous substances are phys-
ically separated, combined chemically, or
simply mixed together. Assign toxicity fac-
tor values to the radionuclides as specified
above and to the other hazardous substances
as specified in section 2.4.1.1.

At sites containing mixed radioactive and
other hazardous substances, if all radio-
nuclides available to a particular pathway
are assigned a human toxicity factor value of
0, use a default human toxicity factor value

RADIONUCLIDES
Cancer slope factor (SF) (pCi)—? meret
3x 10-"'SSF 10,000
3x 10-"sSF<3 x 10-'' .. a 1,000
SF<3 Ls 100
SF not for the radi fick 0

* Radionuclide slope factors are estimales of age-averaged,
eS total excess cancer risk per picocurie of
ie or

At sites containing mixed radioactive and
other hazardous aubstances, evaluate the
ecosystem toxicity factor separately for the
radioactive and other hazardous substances
and assign each a separate ecosystem tox-
icity factor value. This applies regardless of
whether the radioactive and other hazardous
substances are physically separated, com-
bined chemically, or simply mixed together.
Assign ecosystem toxicity factor values to
the radionuclides as specified above and to
the other hazardous substances as specified
in sections 4,1.4,2.1.1 and 4,2,4.2.1.1. If all
radionuclides available to a particular path-
way are assigned an ecosystem toxicity fac-
tor value of 0, use a default ecosystem tox-
icity factor value of 100 for all these radio-
nuclides even if nonradioactive hazardous
substances available to the pathway are as-
signed ecosystem toxicity factor values
greater than 0. Similarly, if all nonradio-
active hazardous substances available to the
pathway are assigned an ecosystem toxicity
factor value of 0, use a default ecosystem
toxicity factor value of 100 for all these non-
radioactive hazardous aubstances even if
radionuclides available to the pathway are
assigned ecosystem toxicity factor values
greater than 0.

227

Page 16 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

7.2.3 Persistence/Degradation. In  deter-
mining the surface water persistence factor
for radionuclides, evaluate this factor based
solely on half-life; do not include sorption to
sediments in the evaluation as is done for

tyj2 =

Where:

r = Radioactive half-life.
V = Volatilization half-life.

If the volatilization half-life cannot be es-
timated for a radionuclide from available
data, delete it from the equation, Select the
portion of Table 4-10 to use in assigning the
persistence factor value as specified in sec-
tion 4.1,2.2.1.2,

At sites containing mixed radioactive and
other hazardous substances, evaluate the
persistence factor separately for each radio-
nuclide and for each nonradioactive haz-
ardous substance, even if the available data

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

nonradioactive hazardous substances. Assign
a persistence factor value from Table 4-10
(section 4.1.2.2.1.2) to each radionuclide based
on half-life (t ;.) calenlated as follows:

=|
| +
Be

<

indicate that they are combined chemically.
Assign a persistence factor value to each
radionuclide as specified in this section and
to each nonradioactive hazardous substance
as specified in section 4.1.2.2.1.2. When com-
bined chemically, assign a single persistence
factor value based on the higher of the two
values assigned (individually) to the radio-
active and nonradioactive components.

In determining the subsurface intrusion
degradation factor for radionuclides, when
evaluating this factor based solely on half-
life, assign a degradation factor value from
section 5.2.1.2.1.2 to each radionuclide based
on half-life (ti) calculated as follows:

fie 3k

Where:
r = Radioactive half-life,

If no radioactive half-life information is
available for a radionuclide and the sub-
stance is not already assigned a value of 1,
unless information indicates otherwise, as-
sign a value of 1.

At sites containing mixed radioactive and
other hazardous substances, evaluate the
degradation factor separately for each radio-
nuclide and for each nonradioactive haz-
ardous substance, even if the available data
indicate that they are combined chemically.
Assign a degradation factor value to each
radionuclide as specified in this section and
to each nonradioactive hazardous substance
as specified in section 5,2,1.2.1.2. If no radio-
active half-life information is available for a
radionuclide and the substance is not al-
ready assigned a value of 1, unless informa-
tion indicates otherwise, assign a value of 1.
Similarly, if no half-life information is avail-
able for a nonradioactive substance, and the
substance is not already assigned a value of
1, unless information indicates otherwise, as-
sign a value of 1. When combined chemically,
assign a single persistence or degradation
factor value based on the higher of the two

1

r

values assigned (individually) to the radio-
active and nonradioactive components.

7.24 Selection of substance potentially pos-
ing greatest hazard. For the subsurface intru-
sion component of the soil exposure and sub-
surface intrusion pathway and each migra-
tion pathway (or threat, aquifer, or water-
shed, as appropriate), select the radioactive
substance or nonradioactive hazardous aub-
stance that potentially poses the greatest
hazard based on its toxicity factor value,
combined with the applicable mobility, per-
sistence, degradation and/or bioaccumula-
tion (or ecosystem bioaccumulation) poten-
tial factor values. Combine these factor val-
ues as specified in sections 2 through 6, For
the soil exposure component of the soil expo-
sure and subsurface intrusion pathway, base
the selection on the toxicity factor alone
(see sections 2 and 5).

7.2.5 Hazardous waste quantity. To cal-
culate the hazardous waste quantity factor
value for sites containing radioactive sub-
stances, evaluate source hazardous waste
quantity (see section 2.4.2.1) using only the
following two measures in the following hi-
erarchy (these measures are consistent with

228

Page 17 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

Tiers A and B for nonradioactive hazardous
substances in sections 2.4.2.1.1 and 2.4,2.1.2):

° Radionuclide constituent quantity (Tier
A).

« Radionuclide wastestream quantity (Tier
B).

7.2.5.1 Source hazardous waste quantity for
radionuclides. For each migration pathway,
assign a source hazardous waste quantity
value to each source having a containment
factor value greater than 0 for the pathway
being evaluated. For the soil exposure com-
ponent of the soil exposure and subsurface
intrusion pathway, assign a source hazardous
waste quantity value to each area of ob-
served contamination, as applicable to the
threat being evaluated. For the subsurface
intrusion component, assign a source haz-
ardous waste quantity value to each regu-
larly occupied structure located within areas
of observed exposure or areas of subsurface

Filed 06/22/21

Pt. 300, App. A

contamination. Allocate hazardous sub-
stances and h ‘dous ti eams to spe-
cific sources (or areas of observed contami-
nation, areas of observed exposure or areas
of subsurface contamination) as specified in
sections 2.4.2 and 5.2.0.

7.2.5.1.1 Radionuclide constituent quantity
(Tier A). Evaluate radionuclide constituent
quantity for each source (or area of observed
contamination or area of observed exposure)
based on the activity content of the radio-
nuclides allocated to the source (or area of
observed contamination or area of observed
exposure) as follows:

* Estimate the net activity content (in cu-
ries) for the source (or area of observed con-
tamination or area of observed exposure)
based on:

—Manifests, or
—Either of the following equations, as appli-
cable:

N = 9.1x10-7(V) ) AG,
2

Where:

N = Estimated net activity content (in cu-
ries) for the source (or area of observed
contamination or area of observed expo-
sure).

V = Total volume of material (in cubic
yards) in a source (or area of observed
contamination or area of observed expo-
sure) containing radionuclides.

AC, = Activity concentration above the re-
spective background concentration (in
pCi/g) for each radionuclide i allocated to
the source (or area of observed contami-
nation or area of observed exposure).

n = Number of radionuclides allocated to the
source (or area, of observed contamina-
tion or area of observed exposure) above
the respective background concentra-
tions.

or,

n
N = 3.8x10722(V) y; AC,

Where:

N = Estimated net activity content (in cu-
ries) for the source (or area of observed
contamination or area of observed expo-
sure).

Vv = Total volume of material (in gallons) in
a source (or area of observed contamina-
tion or area of observed exposure) con-
taining radionuclides.

ACG, = Activity concentration above the re-
spective background concentration (in
pCi/1) for each radionuclide i allocated to
the source (or area of observed contami-
nation or area of observed exposure),

i=1

n= Number of radionuclides allocated to the
source (or area of observed contamina-
tion or area of observed exposure) above
the respective background concentra-
tions.

—Estimate volume for the source (or volume
for the area of observed contamination or
area of observed exposure) based on records
or measurements.

—For the soil exposure component of the soil
exposure and subsurface intrusion path-
way, in estimating the volume for areas of
observed contamination, do not include
more than the first 2 feet of depth, except;

229

Page 18 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. A

for those types of areas of observed con-

tamination listed in Tier C of Table 52

(section 5.1.1.2.2), include the entire depth,

not just that within 2 feet of the surface.
—For the subsurface intrusion component of

the soil exposure and subsurface intrusion
pathway, in estimating the volume for
areas of observed exposure, only use the
volume of air in the regularly occupied
structures where observed exposure has
been documented.

« Convert from curies of radionuclides to
equivalent pounds of nonradioactive haz-
ardous substances by multiplying the activ-
ity estimate for the source (or area of ob-
served contamination or area of observed ex-
posure) by 1,000.

e Assign this resulting product as the
radionuclide constituent quantity value for
the source (or area of observed contamina-
tion or area of observed exposure).

If the radionuclide constituent quantity
for the source (or area of observed contami-
nation or area of observed exposure) is ade-
quately determined (that is, the total activ-
ity of all radionuclides in the source and re-
leases from the source [or in the area of ob-
served contamination or area of observed ex-
posure] is known or is estimated with rea-
sonable confidence), do not evaluate the
radionuclide wastestream quantity measure
in section 1.2.5.1.2. Instead, assign radio-
nuclide wastestream quantity a value of 0
and proceed to section 7,2.5.1.3. If the radio-
nuclide constituent quantity is not ade-
quately determined, assign the source (or
area of observed contamination or area of
observed exposure) a value for radionuclide
constituent quantity based on the available
data and proceed to section 7.2.5.1.2,

7.2.5.1.2 Radionuclide wastestream quan-
tity (Tier 3B). Evaluate radionuclide
waatestream quantity for the source (or area
of observed contamination, area of observed
exposure, or area of subsurface contamina-
tion) based on the activity content of radio-
nuclide wastestreams allocated to the source
(or area of observed contamination, area of
observed exposure, or area of subsurface con-
tamination) as follows:

« Estimate the total volume (in cubic
yards or in gallons) of wastestreams con-
taining radionuclides allocated to the source
(or area of observed contamination, area of
observed exposure, or area of subsurface con-
tamination).

* Divide the volume in cubic yarda by 0.65
(or the volume in gallons by 110) to convert
to the activity content expressed in terms of
equivalent pounds of nonradioactive haz-
ardous substances.

« Assign the resulting value as the radio-
nuclide wastestream quantity value for the
source (or area of observed contamination,
area of observed exposure, or area of sub-
surface contamination).

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

* For the subsurface intrusion component
of the soil exposure and subsurface intrusion
pathway, estimate the total wastestream
volume for all regularly occupied structures
that have a containment value >0 and that
are located within areas of observed exposure
with observed or inferred intrusion, and
within areas of subsurface contamination.
Calculate the volume of each regularly occu-
pied structure based on actual data. If un-
known, use a ceiling height of & feet.

7.2.5.1.3 Calculation of source hazardous
waste quantity value for radionuclides. Se-
lect the higher of the values assigned to the
source (or area of observed contamination,
area of observed exposure, and/or area of sub-
surface contamination) for radionuclide con-
atituent quantity and radionuclide
wastestream quantity. Assign this value as
the source hazardous waste quantity value
for the source (or area of observed contami-
nation, area of observed exposure, or area of
subsurface contamination). Do not round to
the nearest integer.

7.2.5.2 Calculation of hazardous waste
quantity factor value for radionuclides. Sum
the source hazardous waste quantity values
assigned to all sources (or areas of observed
contamination, areas of observed exposure,
or areas of subsurface contamination) for the
pathway being evaluated and round this sum
to the nearest integer, except; if the sum is
greater than 0, but less than 1, round it to 1.
Based on this value, select a hazardous waste
quantity factor value for this pathway from
Table 2-6 (section 2.4.2.2).

For a migration pathway, if the radio-
nuclide constituent quantity is adequately
determined (see section 17.2.5.1.1) for all
sources (or all portions of sources and re-
leases remaining after a removal action), as-
sign the value from Table 2-6 as the haz-
ardous waste quantity factor value for the
pathway. If the radionuclide constituent
quantity is not adequately determined for
one or More sources (or one or more portions
of sources or releases remaining after a re-
moval action), assign a factor value as fol-
lows:

e If any target for that migration pathway
is subject to Level I or Level If concentra-
tions (see section 7.3), assign either the value
from Table 2-6 or a value of 100, whichever is
greater, as the hazardous waste quantity fac-
tor value for that pathway.

« If none of the targets for that pathway is
subject to Level I or Level II concentrations,
assign a factor value as follows:

—If there has been no removal action, assign
either the value from Table 2-6 or a value
of 10, whichever is greater, as the haz-
ardous waste quantity factor value for that
pathway.

—If there has been a removal action:

@ Determine values from Table 2-6 with

and without consideration of the removal
action.

230

Page 19 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

@ If the value that would be assigned from
Table 2-§ without consideration of the
removal action would be 100 or greater,
assign either the value from Table 2-6
with consideration of the removal action
or a value of 100, whichever is greater, as
the hazardous waste quantity factor
value for the pathway.

@ If the value that would be assigned from
Table 2-6 without consideration of the
removal action would be less than 100,
assign a value of 10 as the hazardous
waste quantity factor value for the path-
way.

For the soil exposure component of the soil
exposure and subsurface intrusion pathway,
if the radionuclide constituent quantity is
adequately determined for all areas of ob-
served contamination, assign the value from
Table 2-6 as the hazardous waste quantity
factor value. If the radionuclide constituent
quantity is not adequately determined for
one or more areas of observed contamina-
tion, assign either the value from Table 2-6
or a value of 10, whichever is greater, as the
hazardous waste quantity factor value.

For the subsurface intrusion component of
the soil exposure and subsurface intrusion
pathway, if the radionuclide constituent
quantity is adequately determined for all
areas of observed exposure, assign the value
from Table 2-6 as the hazardous waste quan-
tity factor value. If the radionuclide con-
stituent quantity is not adequately deter-
mined for one or more areas of observed ex-
posure, assign either the value from Table 2-
6 or a value of 10, whichever is greater, as the
hazardous waste quantity factor value.

7.2.5.8 Calculation of hazardous waste
quantity factor value for sites containing
mixed radioactive and other hazardous sub-
stances. For each source (or area of observed
contamination, area of observed exposure, or
area of subsurface contamination) con-
taining mixed radioactive and other haz-
ardous substances, calculate two source haz-
ardous waste quantity values—one based on
radionuclides as specified in sections 7.2.5.1
through 7.2.5.1.3 and the other based on the
nonradioactive hazardous substances as spec-
ified in sections 2.4.2.1 through 2.4.2.1.5, and
sections 5.1.1.2.2, 5,.1.2.2.2 and 5.2.1,2.2 (that is,
determine each value as if the other type of
substance was not present). Sum the two val-
ues to determine a combined source haz-
ardous waste quantity value for the source
(or area of observed contamination, area of
observed exposure, or area of subsurface con-
tamination). Do not round this value to the
nearest integer.

Use this combined source hazardous waste
quantity value to calculate the hazardous
waste quantity factor value for the pathway
as specified in section 2.4.2.2, except: if either
the hazardous constituent quantity or the
radionuclide constituent quantity, or both,
are not adequately determined for one or

Filed 06/22/21

Pt. 300, App. A

more sources (or one or more portions of
sources or releases remaining after a re-
moval action) or for one or more areas of ob-
served contamination or areas of observed
exposure, as applicable, assign the value
from Table 2-6 or the default value applica-
ble for the pathway, whichever is greater, as
the hazardous waste quantity factor value
for the pathway.

7.38 Targets. For radicactive substances,
evaluate the targete factor category as speci-
fied in section 2.5 and sections 3 through 6,
except: Establish Level I and Level IT con-
centrations at sampling locations as speci-
fied in sections 7.3.1 and 7.3.2 and establish
weighting factors for populations associated
with an area of subsurface contamination in
the subsurface intrusion component of the
soil exposure and subsurface intrusion path-
way as specified in section 7.3.3.

For all pathways (components and
threats), use the same target distance limita
for sites containing radioactive substances
as is specified in sections 3 through 64 for
sites containing nonradioactive hazardous
substances. At sites containing mixed radio-
active and other hazardous substances, in-
clude all sources (or areas of observed con-
tamination, areas of observed exposure, or
areas of subsurface contamination) at the
site in identifying the applicable targets for
the pathway.

7.3.1 Level of contamination at a sampling
location. Determine whether Level I or Level
II concentrations apply at a sampling loca-
tion (and thus to the associated targets) as
follows:

® Select the benchmarks from section 7.3.2
applicable to the pathway (or component or
threat) being evaluated.

e Compare the concentrations of radio-
nuclides in the sample (or comparable sam-
ples) to their benchmark concentrations for
the pathway (or component or threat) as
specified in section 1.3.2. Treat comparable
samples aa specified in section 2.6.1.

* Determine which level applies based on
this comparison.

« If none of the radionuclides eligible to be
evaluated for the sampling location have an
applicable benchmark, assign Level IL to the
actual contamination at that sampling loca-
tion for the pathway (or component or
threat).

« In making the comparison, consider only
those samples, and only those radionuclides
in the sample, that meet the criteria for an
observed release (or observed contamination
or observed exposure) for the pathway, ex-
cept: Tissue samples from aquatic human
food chain organisms may also be used for
the human food chain threat of the surface
water pathway as specified in sections 4.1.3.3
and 4.2.3.3.

7.3.2 Comparison to benchmarks. Use the
following media specific benchmarks (ex-
pressed in activity units, for example,pCil

231

Page 20 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pf. 300, App. A

for water, pCi/kg for soil and for aquatic

human food chain organisms, and pCi/m3 for

air) for making the comparisons for the indi-
cated pathway (or threat):

* Maximum Contaminant Levels (MCLs)—
ground water migration pathway and drink-
ing water threat in surface water migration
pathway.

® Uranium Mill Tailings Radiation Control
Act (UMTRCA) standards—soil exposure
component of the soil exposure and sub-
surface intrusion pathway only.

« Screening concentration for cancer cor-
responding to that concentration that cor-
responds to the 10-* individual cancer risk
for inhalation exposures (air migration path-
way and subsurface intrusion component of
the soil exposure and subsurface intrusion
pathway) or for oral exposures (ground water
migration pathway; drinking water or
human food chain threats in surface water
migration pathway; and soil exposure and
subsurface intrusion pathway).

—For the soil exposure component of the soil
exposure and subsurface intrusion path-
way, include two screening concentrations
for cancer—one for ingestion of surface
materials and one for external radiation
exposures from gamma-emitting radio-
nuclides in surface materials.

Select the benchmark(s) applicable to the
pathway (component or threat) being evalu-
ated. Compare the concentration of seach
radionuclide from the sampling location to
its benchmark concentration(s) for that
pathway (component or threat). Use only
those samples and only those radionuclides
in the sample that meet the criteria for an
observed release (or observed contamination
or observed exposure) for the pathway, ex-
cept: Tissue samples from aquatic human
food chain organisms may be used as speci-
fied in sections 4.1.3.3 and 4.2.3.3. If the con-
centration of any applicable radionuclide
from any sample equals or exceeds ita bench-
mark concentration, consider the sampling
location to be subject to Level I concentra-
tions for that pathway (component or
threat). If more than one benchmark applies
to the radionuclide, assign Level I if the
radionuclide concentration equals or exceeds
the lowest applicable benchmark concentra-
tion. In addition, for the soil exposure and
subsurface intrusion pathway, assign Level I
concentrations at the sampling location if
measured gamma radiation exposure rates
equal or exceed 2 times the background level
(see section 7.1.1).

If no radionuclide individually equals or
exceeds its benchmark concentration, but
more than one radionuclide either meets the
criteria for an observed release (or observed
contamination or observed expoeure) for the
sample or is eligible to be evaluated for a tis-
sue sample (see sections 4.1.3.3 and 4.2.3.3),
calculate a value for index I for these radio-
nuclides as specified in section 2.5.2. If I

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

equals or exceeds 1, assign Level I to the
sampling location. If I is leas than 1, assign
Level IL.

At sites containing mixed radioactive and
other hazardous substances, establish the
level of contamination for each sampling lo-
cation considering radioactive substances
and nonradioactive hazardous substances
separately. Compare the concentration of
each radionuclide and each nonradioactive
hazardous substance from the sampling loca-
tion to its respective benchmark concentra-
tion(s). Use omly those samples and only
those substances in the sample that meet the
criteria for an observed release (or observed
contamination or observed exposure) for the
pathway except: Tissue samples from aquatic
human food chain organisms may be used as
specified in sections 4.1.3.3 and 4.2.3.3. If the
concentration of one or more applicable
radionuclides or other hazardous substances
from any sample equals or exceeds ita bench-
mark ct tration, consider the sampling
location to be subject to Level I concentra-
tions, If more than one benchmark applies to
a radionuclide or other hazardous substance,
assign Level I if the concentration of the
radionuclide or other hazardous substance
equals or exceeds its loweat applicable
benchmark concentration.

If no radionuclide or other hazardous sub-
stance individually exceed a benchmark con-
centration, but more than one radionuclide
or other hazardous substance elther meets
the criteria for an observed release (or ob-
served contamination or observed exposure)
for the sample or is eligible to be evaluated
for a tissue sample, calculate an index I for
both types of substances as specified in sec-
tion 2.5.2. Sum the index I values for the two
types of substances. If the value, individ-
ually or combined, equala or exceeds 1, as-
sign Level I to the sample location. If it is
less than 1, calculate an index J for the non-
radioactive hazardous substances as speci-
fied in section 2.5.2. If J equals or exceeds 1,
assign Level I to the sampling location. If J
is less than 1, assign Level I.

7.8.3 Weighting of targets within an area
of subsurface contamination. For the sub-
surface intrusion component of the soil expo-
sure and subsurface intrusion pathway, as-
sign a weighting factor as specified in sec-
tion 5.2,1.3.2.3 except when a structure in an
area of subsurface contamination is delin-
eated or inferred to be delineated by gamma
radiation exposure rates meeting observed
release criteria with a depth to contamina-
tion of 2 feet or less. For those populations
residing, working, or attending school or day
care in a structure delineated or inferred to
be delineated by gamma radiation exposure
rates meeting observed release criteria with

282

Page 21 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

a depth to contamination of 2 feet or less, as-
sign a weighting factor of 0.9.

(55 FR 51583, Dec. 14, 1990, as amended at 82
FR 2779, Jan. 9, 2017; 83 FR 38037, Aug. 3, 2018)

Filed 06/22/21

Page 22 of 50

Pt. 300, App. B

APPENDIX B To PART 300—NATIONAL PRionrtves List

TABLE 1—GENERAL SUPERFUND SECTION

City/Gounty Notes(a)

SOLLOSOOSPepoooeggcc LS SoPe LOS CORRRRRARSSSSEEEESEP?

Outer Ketchikan County.

. | Hassayampa
Indian Bend Wash Area

Applied Mater
. | Argonaut Mine
. | Atlas Asbestos Mine
. | Beckman Instruments
. | Blue Ledge Mine
+ | Brown & Bryant, Inc (Arvin Plant)

| CTS Printex, ine.
. | Casmalia Ri

Iron King Mine—Humboidt S

St. David.
Hassayampa.
Scottsdale/Tempe/Phoenix .... | P
Dewey-Humboidt.

Motorola, Inc, (S2nd Street Plant)
Tucson Intemational Airport Area

Advanced Micro Devices, Inc. (Bldg. 915)
Aerojet General Corp
Alark Hard Chrome
AMCO Chemical

.. | Halace Engi ig Company .
.. | Hewlett-Packard (620-640 Page Mill Road) ..................0. | Palo Alto,
.. | Industrial Waste Processing Fresno.
«+ | Intel Corp. (Mountain View Plartt) ....s--sssssssccsreenssssenetesnessss: Mountain View
. | Intel Corp. (Santa Clara IN!) Santa Ciara
Intel Magneli Santa Clara
Intersil Inc./Siemens Comp Cuperti
MA, in Mine Redding
JH. Baxter & Co Weed.
eso Chemical Comp ssce.:nciescienssssesiseeeessncinnteccsseeesiecteenensest Mountain View.
. | Jervis B. Webb South Gate.
. | Klau/Buena Vista Mine San Luis Obispo County.

233

Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

Page 23 of 50

Pt. 300, App. B 40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued
Notes(a)
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i i y Mine
. | Newmark Ground Water Contamination ......:s0sssessscssenessee
. | Omega Ghemical Corporation
+ | Operating Industries, Inc., LAM ........00+ssusssseenseresseenecsnnrses ts
CA
CA
CA.
CA .
CA
CA
CA ... . | San Gabriel Valley (Area 1) El Monte.
CA San G Valley (Area 2) twin Park Area,
CA... ... | San Gabriel Valley (Area 2) Alhambra.
CA. . | San Gabriel Valley (Area 4) La Puente.
CA. . | Selma Treating Co Selma.
CA. . | South Bay Asbestos Area Alviso.
CA Souther Avenue INGUStHal AMEE o.oo | SOUTH Gate.
CA Ss ‘Physics, Inc M in View.
CA Stringfell Glan Avon Heights... s
CA .. . | Sulphur Bank Mercury Mine “
CA.
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CT ... Kellogg-Deering Well Field
CT .. Laure! Park, Inc Naugatuck Borough mee, |S
cT . | Linemaster Switch Corp Woodstock.
. | Precision Plating Com Vernon.
. | Raymark Industries, Inc NRO i cocticcessteanrnonesccecunds A
Scovill Industrial Landfill Waterbury.
Recovery New Eng! Southington.
Yaworski Waste Lagoon Canterbury.
. | Army Greek Landfill New Castle County.
Chem-Soly, Inc Chi id.

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 24 of 50

Environmental Protection Agency Pt. 300, App. B
TABLE 1—GENERAL SUPERFUND SECTION—Continued
City/County Notes(a)
Delaware City.
. | New Castle County.
Dover.
New Castle.

Kirkwood.

. | Koppers Co., Inc. (Newport Plant) N
NCR Corp. (Millsboro Plant)
Newark South Ground Water Plume .
Standard Chlorine of Delaware, Inc ..
. | Tybouts Comer Landfill
Agrico Chemical Co
. | Alrco Plating Co
. | Alaric Area Ground Water Plume ........0.:

*: | Florida Petroleum Reprocessors
Florida Steel Corp
eee es i ;

. | Harris Corp. (Palm Bay Plant) Palm Bay.

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s
Mathis Landfill Kensington.

innkieatesal Peach Orchard Road PCE Ground Waller PIUME secs | AUQUSLA.
TH, Ag & Nutrition (Albany) Albany.

235
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App.

Filed 06/22/21

Page 25 of 50

40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Gity/Gounty

Notes(a)

Fort Vatley.
Guam

“... | Peoples Natural Gas Co
. | Railroad Avenue Groundwater Contamination «0.0.0.0... sa

Shaw A Dum

ip

.... | Vogel Paint & Wax Go

. | Bunker Hill Mining & gi
Eastem Ci

. | Ker-McGee Chemical

Corp. (Soda Springs)
Chemical Co. (Soda Springs)

Byron Salvage Yard

. | Chemetco
. | Cross Brothers Pail Recycling (Pembroke)
. | DePue/New Jersey Zinc/Mobil ChemCorp ........

. | Indian Refinery—Texaco Lawrenceville ....

. | Interstate Pollution Control, Inc

. | dennison-Wright Gorponati

. | Johns-Manville Corp

. | Kerr-McGee (Kress Creek/W Branch DuPage) ves
| Areas)

Kerr-MoGee (Resid

Tri-County Landfil/Waste Mgmt Illinois

Chemical Camp. (Illinois)
Gravel

: | Cliff Drive Groundwater Contamination
: | Conrail Ril Yard (Elkhart)

236

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Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 26 of 50

Environmental Protection Agency Pt. 300, App. B
TABLE 1—GENERAL SUPERFUND SECTION—Continued
Stale Ste name City/County Notes{a)

UD rreccreectre sricas Kamae t Corridor Ground ee pice eee Indianapolis,

: Rolly Ter 8 Chemical (indianapolis Pian Rewatonameugaast indianapolis,
Seymour Recycling Corp Seymour s

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Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 27 of 50

Pt. 300, App. B 40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Notes{a)

Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Filed 06/22/21

Page 28 of 50

Pt. 300, App. B

Notas(a)

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South

2 Friday Commons Park Well FIQK .....2..:0.cccccccseesesscsensensseens

Fridley.
General Mills/Henke! Corp Al li
Manufacturing and Supply Co Brooklyn Center
Koppers St. Paul.
. | Kurt Manufacturing Co Fridiey.
Lehillier/Mankato Site Lehillier/Mankato.
Long Prairie Ground Water Contamination .......0s0:sssssessse Long Prairie.
MacGillis & Gibbs/Bell Lumber & Pole C New Brig
Oakdale Dump Oakdale.
Perham Arsenic Site Perham.
Railly Tar&Chem (St. Louis Park Plant) ......c0ccccvesssscsessssnsse SL. LOWS Pari ss setsscccesesmetee
. | Fitari Post & Pole Sebeka.
South Site Andover
South Minneapolis Residential Soil Contamination ............ | Minneapolis.
... | Spring Park Municipal Weil Field Spring Park.
. | St. Louis River Site St. Louis County.
. | St Regis Go Gass Lake.
. | Waite Park Wells Waite Park.
Annapolis Lead Mine Annapolis,
Armour Road North City.
Bee Cee Manufacturing Co Malden.
Big River Mine Tailings/St. Joe MIN@Tals ....--sersessesesneeessseseee Desloge.
Compass Plaza Well TCE Rogersville.
Conse Ct Co Kansas
Ellisville Site Ellisville
x Fulbright Landfill Springfield.
i . | Madison County Mines Fredericktown.
ee . | Minker/Stout/Romaine Creek Imperial.
je Missouri Electric Works Cape Gi
= Newton County Mine Tailings County.
“ Newton Gounty Wells Newton
si Oak Grove Village Well Oak Grove Village.
Oronego-Di 0 Ball .. i ‘tae | Jesper County.
. | Pools Prairie Neosho.
. | Quality Plating Sikeston.
Riverfront New Haven,

239

Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

Page 29 of 50

Pt. 300, App. B 40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued
State Site name City/County Noles(a)

Barker Hugheavile MINING DISUTICE ....sersseesnsessnseesascensetenennecse
- | Basin Mining Area
. | Carpentar Snow Creek Mining District .......cs.e-ssetesseseerane

S3SBBARSEARSSRSES AAS:

i Gorp-Navassa
Koppers Co., Inc. (Morrisville Plant)

"| National Starch & Chamical Com ssi...

NC State University (Lot 86,Farm Unit #1)

Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

TABLE 1—GENERAL SUPERFUND SECTION—Continued

Filed 06/22/21

Page 30 of 50

Pt. 300, App. B

Notes(a)

West Highway 6 & Highway 261 ..
Aubum Road Landfill

Beede Waste Oil

Chior-Alkall Facility (Former)
Coakley Landfill

Collins & Aikman Plant (Former) ...
Dover Municipal Landfill

Fietcher’s Paint Works & Storage .....

Kearsarge Metallurgical Corp
Keefe Envi Si

Mottolo Pig Farm

New Hampshire Plating Co

Ottati & Goss/Kingston Steel Drum
Savage Municipal Water Supply ........
Somersworth Sanitary Landfill

. | Bog Creek Farm

. Polymer
American Cyanamid Co.
Asbestos Dump

Allantic Resources Corporation

Brick Ti ip Landfill
Bridgeport Rental & Oil Services
cae denial

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241

Bound Brook.

. | Bumt Fly Bog Marlboro Township.
CPS/Madison Old Bridge Township.
Caldwell Trucking Go Fairfield.

Chemical Control Elizabeth,
It ch Edison Township.

. | Chemical Leaman Tank Lines, Inc Bridgep
Chemsol, Inc Pi y

. | Ciba-Geigy Corp Toms River.
Cinnaminson Ground Water Contamination ........:sss0-s00 .- | Cinnaminson Township.
Combe Fill South Landfill Chester p.
oe Dubifer Electronics TING srenvesssees: South Plainfield.

. | Curcio cure Borep oe Ine ... Saddle Brook Township.

Milford...
t Township.
Wharton Borougl
Kingwood Township.
Newark.
Dover p
Evesham Ti p
Galloway Township.
Old Bridge Township.
Township.

Fair Lawn Well Field Fair Lawn.

Former Kil-Tone Gompany Vineland.

Franklin Bum Franklin Township.

Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. B

Filed 06/22/21

Page 31 of 50

40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Site name

City/County

Notes(a)

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Fried
. | Garfield Ground Water Cor ination

East Brunswick Township.
Garfield.
Gh

Old Bridge Township.
Plumstead Township.
Mantua Township.
Gib

Kingston.
Township.

eS. au

Imperial Oil Go., Inc./Champion Chemicals
. | JIS Landfill

Iceland Coin Laundry Area Ground Water Plume .

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eat Com
. | Orange Valley Regional Ground Water Contamination ........
. | Piarson’s Creek

Rocky Hill Borough.

Chatham Township,
Caristact.

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Parsi ‘Troy His.

White Ch

... | Wall Township.
. | Camden and Gloucester City.

. | White Swan Cleaners/Sun Cleaners Area Ground Water
Con!

tamination.
Williams Property

Wall Township.

242

Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Filed 06/22/21

Page 32 of 50

Pt. 300, App. B

Site name

Notes(a)

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ii

- | Homestake Mining Co

Plume
Griggs & Walnut Ground Water Plume

2555222232222 2222352223 AAS EE AA BRE AAS SA 5 2282252392 EE SEE EE EE EEE EE ZC

... | New Cassel/Hicksville Ground Water Contamination

_ | Newtown Creek

243

Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

Pt. 300, App. B 40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Stale Site name City/County Notes(a)

NY Niagara h Power Co (Saratoga Spings) ..........cse.. Saratoga Springs.

NY Old Bethpage Landfill Oyster Bay.

NY Old Ri it Field Contaminated Ground Water Area ....... Garden Gity.

NY Olean.

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NY Stanton Ch Area Ground Water G Great Neck.

NY ... Tri-Cities Barrel Co., Inc Port Crane.

NY Vestal Water Supply Well 1-1 .

NY . . | Volney Municipal Landfill

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O# .... Powell Road Landfill Dayton.

OH . . | Pristine, Inc Reading.

OH . . | Reilly Tar & Chemical (Dover Plant) ...sssssssccssssseerssseereseee | DOVET.

OH . . | Sanitary Landfill Co. (Industrial Waste) Dayton.

OH. . | Skinner Landfill West Chester,

OH . | South Point Plant South Point.

OH. . | Summit National Deerfield Township.

OH. . | TRW, Inc. (Minerva Plant) Minerva.

OH. . | United Scrap Lead Go., Inc L

OH.

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244

Page 33 of 50
Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 34 of 50

Environmental Protection Agency Pt. 300, App. B
TABLE 1—GENERAL SUPERFUND SEGTION—Continued
State Site name City/County Notes(a)
ON sess .. | Tar Greek (Ottawa County) Oltawa
OK . | Tulsa Fuel and Manufacturing Collinsville.
oK Wilcox Oil Company Creek County.
OR Black Butte Mine Cottage Grove.
OR F Mine Douglas County.
OR MoComnick & Baxter Creos. Ca (P ) F
OR North Ridge Estates Klamath Falls,
OR .» | Northwest Pipe & Casing/Hall Process Company vo... non | Clackamas,
OR . | Portland Harbor Portland
OR wa Metals Company Troutdale.
OR . | Taylor Lumber and Treating
Wah

Bridgewater Township.
Longswamp Township.
Wes! Cain Township.
Bridgeton T.

toes Ambler...

Coraopolis.
King vw. | Shoemakersville,
Pittston.

ae State College Borough uu... | P
BD

an Commodore Semiconductor Group ..........ccccseesee Lower Providence Township.
.» | Crater Resources/Keysione Coke/Alan Wood .. | Upper Merion Township.
. | Grossley Farm Hereford Township.

ane | CROW TCHS secstisess stcesiiasesseseies nssaiu ios eanuccan bens haatvanssicisesitiekintes Croydon.
. | CryoChem, Inc Worman.
Delta Quarries & Disp/Stotlar Landfill 2. ec ca sae Antis/Logan Twps.
Douclasavilia Di ; Devininnesil
Lock Haven.

oh.
Springettsbury Township.
Hometown.

ies Eliz
Warminster.
East Whiteland Township.

North Whitehall Township.
Hellertown.

i Mineral

. | Franklin Slag Pile (MDC)

Hi POP
Heleva Landfill
Hellertown Manufacturing Co
. | Henderson Road Upper Merion Township,
Ht Road Straban Township.
Industrial Lane Williams Ti
. | Jacks Greeh/Sitkin Smelting and Refinery ces | Maitland.
Ceramix Falls Creek,

ip

246
Case 1:21-cv-00119-RDM Document 53-1

Filed 06/22/21

Page 35 of 50

Pt. 300, App. B 40 CFR Ch. I (7=1=19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued
City/County Notes(a)
Lower Township.
a Neville Island.
.« | Old City of York Landfill Seven Valleys.
. | Old Wilmington Road Ground Water Contamination ........... Sadsburyville.
Ost Landfill Grove City.
Palmerton.
some cerca P
P

.. | Westinghouse Electronic (Sharon Plant) ..
.. | Westinghouse Elevator Go. Plant

Fibers Public Supply Wells

Hormigas Ground Water Plume ......
. | dunces Landfill

Inc

Maunabo Area Ground Water Contamination .......cc0sse. a

lo Recycling, Inc.

San German Ground Water Contamination...

| The Batiery Recycling COMPANY stscscsensssensenssieriarsnene
Upjohn Facility

7 Vega Alta Public Supply Wells ........

- | Aqua-Tech Environmental inc (Groce Labs) «nnn

Barite Hill/N Goldfields
Beaunit Corp, (Circular Knit & Dye)

Brewer Gold Mine

Cheraw

sassassassees

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 36 of 50

Environmental Protection Agency Pt. 300, App. B

TABLE 1—GENERAL SUPERFUND SECTION—Continued

Notes(a)

. | Sprague Road Ground Waller PIUMO .....cccscccesssesnesnsersersserse Odessa.
Star Lake Canal Port

ANH AA HAHAH ANNAN A eos s ess sess 7 se Bee ese es

Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. B

Filed 06/22/21

Page 37 of 50

40 CFR Ch. | (7-1-19 Edition)
TABLE 1—GENERAL SUPERFUND SECTION—Continued

Site nama

Notes(a)

State Road 114 Ground Water Plume ...
Texarkana Wood Preserving Co .......... ss
Tex-Tin Superfund

. | US Ol Ri
_ | Van der Horst USA Co!
. | West County Road 112 Ground Water ...
; | GountifulWoods Cross Sth South PCE Plume ..

Co

Five Points PCE Plume

Waste Oil Refinery .sesscssatsoeeeseteseensesee

Jacobs Smelters

U.S. Mag

. | Utah Power & Light/American Barrel Go ......

veer | Wasatch Chemical Go. (Lot 6) ssescssesn

head A es,

Atlantic Wood eee, Inc

P y ine
Rock Quarry (Route 719)

Former Nansemond Ordnance Depot
rt. 1 Chamical Co

. | H&H Inc, Bum Pit

; | BFI Sanitary Landfill (Hockingham) ........
. | Bennington Municipal Sanitary Landfill

: American Crossarm & Conduit Go. ..............

. | Cantratia Municipal LAMOfil ..........seccseccnsesssecentsnersessnesenasee
. | Colbert Landfill

Commenoemont Bay, Near Shore/Tide Flats .
Bay, South Tacoma Channel .

nai iwc Corp. (Yakima Pit)

Shop)

Landfill
Hamillon/Labree Roads Ground Water Contamination .........
. | Harbor Island (Lead)

Hidden Valley Landfill (Thun Field) ....

. | Lower Waterway
. | Makah Reservation Wannhouse Beach Dump ............00.
. | Mica Landfill

Lockheed West Seattle
Duwamish

248

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 38 of 50

Environmental Protection Agency Pt. 300, App. B
TABLE 1—GENERAL SUPERFUND SECTION—Continued
Site name City/County Notes(a)
Northside Lancifll Spok
. | Oesar Co. Ballingham.
Pacific Car & Foundry Co Renton.
Pacific Sound Ri Seattle.
Palermo Well Field Ground Water Contam Tr
Pasco Sanitary Landfill

Gueen. Oly Ferre

Ashiand/Northem States Power Lakefront
. | Better Brite Plating Chrome & Zine Shops .......
.. | City Disposal Corp. Landfill
. | Delavan Municipal Well #4

Kohler.
Menomonee Falls.
Whitelaw.
Franklin Township,
A h politan 9) Bh 9 Grove.
.... | Master Disposal Service Landfill
. | Mid-State Disposal, Inc, Lancifll ......sssssssccerneersecsenssnenessnsaaans Cleveland Township.
i Kerr-McGee Oil Co.) Milwauh
Muskego Sanitary Landfill

. | Myste! . Hig

North 25th Street Glass and Zine

PCE Water Plume .

Shaffer Equipment/Arbuckle Creek Area .

Sharon Steel Corp (Fairmont Coke Works)
Vienna Ti shi

Based on leaden ce — by Agency for Toxic Substances and Disease Registry (if scored, HAS score need
te ie, Prony (rete among the 10 top pry ates ogartoss of sco)
iS

ot z.

o
S

TABLE 2—FEDERAL FACILITIES SECTION

st Site name City/County Notes(a)
AK. Eieleon Air Force Base Fi N Star gt
AK . Elmendorf Air Force Base G horag igh
AK .. Fort Richardson (USARMY) i
AK. .. | Fort Wainwright Fairbanks N Star Borough.
AL. . | Alabama Army AMMUNION PANE .occscsssssseseesecenncennnesssieces Ghildersburg.
AL. Anniston Army Depot (SE Area) Anniston,

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 39 of 50

Pt. 300, App. B 40 CFR Ch. | (7-1-19 Edition)
TABLE 2—FEDERAL FACILITIES SECTION—Continued

St Site name

ve | Redstone Arsenal RSSERaTAS
. | Williams Air Force

Notes(a)

5 Cast Perchiseh Marne Cora anes.
. | Castle Air Force Base
. | Concord Naval Weapons Station
. | Edwards Air Force Base

Laboratory (NASA) ..
LEHR Campus — il (USDOE) .

u tab i *y (USDOE) u
March Air Force Base ansvente

. | Mather Air Force Base
. | MeClellan Air Force Base (GW Contam)
Moffett Naval Air Station

. | Travis Air Force Base Solano County.
. | Air Force Plant PUKS Waterton.
Rocky Flats Piant (USDOE) Jefferson and Boulder Goun- | P

Dover.
. | Cecil Field Naval Air Station SRCKSOMVIIE occ scsssecssccssnsssceen Pp
. | Homestead Air Force Base Homestead.
. | Jacksonville Naval Air Station Jacksonville.
: | Pensacola Naval Air Station F

| | Natick Laboratory Army Rlesearch, D&E Cntr -
Naval Weapons Industrial Reserve Plant ...
Ofis Air National Guard Base/Camp Edwards

... | Gurtis Bay Goast Guard Yard

» | Fort Detrick Area B Ground Water .scsssmsssiesssnsessnsseeannnes
. | Fort George G. Meade
. | Indian Head Naval Surfa fare Center
Patuxent River Naval Air SUQHION ............:cecsseseesessessseees | SL Mary's County.

250

Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 40 of 50

Environmental Protection Agency Pi. 300, App. B
TABLE 2—FEDERAL FACILITIES SECTION—Continued
St Site name City/County Notes(a)

. | Brunswick Naval Air Station Brunswick.
Loring Air Force Base Limestone.
Portsmouth Naval Shipyard Kittery.
Naval Industrial Reserve 0; Plant Fridley P
New Brighton/Arden Hills/TGAAP (USARMY) New GBrigl
Lake City Army Ammu. Plant (NW Lagoon) .. wa] I

Weldon Spring Former Army Ord Works
Weldon Spring Quarry/Plani/Pitts (USDOE)
Camp Lejeune Military Res. (USNAVY)

Cherry Point Marine Corps Air Station
Comhusker Anny Ammunition Piant ..... «| Hall Gounty.
Pease Air Force Base Ny
Federal Aviation Admin. Tech. Center . | Atlantic County.
. | McGuire Air Force Base #1 Wi .
. | Middlesex Sampling Plant a sieecstssesessersiessveceeeceees | MIGHHOSEX.
rom Air Engineering Cen Lakehurst.
Station eae (Site A) .... wstmeenseasses | GOS Neck.
Scare Arsenal (USARMY) Rockaway Township,
Lee Acres Landfill (USDO!) Farmington.
. | Brookhaven National L (USDOE}) Upton.
. | Griffiss Air Force Base Rome P
. | Plattsburgh Air Force Base Plattsburgh
. | Seneca Army Depot Romulus
. | Feed Materials Production Centar (USDOE) ....................... | Famald.
. | Mound Plant (USDOE) MIGMISDUIQ ssssssssssonsreieiesen | P
. | Wright-Patterson Air Force Base ........0.csseneeeeees | Dayton.
. | Tinker Air Force (Soldier Cr/Bidg 300) Oklah City.
Fremont Nat. Forest Uranium Mines (USDA) .........sssessssess Lakeview.
Umatilla Army Depot (Lagoons) I i
Letterkenny Army Depot (SE Area) ........
. | Letterkenny Army Depot (PDO Area) ....
. | Naval Air Development Center (8 Areas) ..

. | Navy Ships Parts Control Center
- | Tobyhanna Army Depot Tobyt P
. | Willow Grove Naval Air & Air Res, Str. vssssscsesessssesseesse Willow Grove.
Atlantic Fieet Weapons Training Area—Vieques Island of Vieq §
Davisvilla Naval C Batt Cant

Naval Educalion/Training Center ....
. | Parris Island ie
. ee

Elisworth Air Force Base

| Lone Star Amy Ammunition Plant

iii

Hill Air Force Base
th Mill gs (USDOE)

Ogden Defense Depot (DLA)

. | Tooele Army Depot (North Area)

. | Defense General Supply Center

. | Fort Eustis (US Army)

. | Langley Air Force Base/NASA Langley Cnir

Naval Weapons Station—Yorktown .
Naval Weapons Station Yorktown—Cheatham i
. | Norfolk Naval Base (Sewells Pt Nvi Cmpx) .................-.
. | Norfolk Naval Shipyard
. | St Juliens Greek Annex (U.S. Navy)
. | American Lake Gardens/MeChord AFB
. | Bangor Naval Submarine Base
Bangor Ordnance Disposal (USNAVY)
Fairchild Air Force Base (4 Waste Areas)
Fort Lewis Logisti

Hanford 100-Area (USDOE)

251
Case 1:21-cv-00119-RDM Document 53-1 Filed 06/22/21 Page 41 of 50

Pt. 300, App. C 40 CFR Ch. | (7-1-19 Edition)
TABLE 2—FEDERAL FACILITIES SECTION—Continued
St Site name City/County Notes(a)

... | Jackson Park Housing Gomplex (USNAVY) ...
.. | Naval Air Station, Whidbey Istand (Aull) ..

Puget Sound Naval Shipyard Complex ......

Allegany Ballistics Laboratory (USNAVY) .

West Virginia Ordnance (USARMY)
Base

ae ene of ee er ee eee oe ee Priorities Lisi. The Culebra por-
tions A wane Bente! bs tas SL proces ‘A on August 13, 2004) are not included at this time due to
a negotiations the Commonwealth of Puerto Rico and the Depariment of the Army.

() A = Based on issuance of health advisory by Agency for Toxic Substances and Disease Alegistry (if scored, HAS score
nega not be grate than or eau! to 28.5) ” oy Q

= State {inclucied among the 100 top priority sites regardless of score).
= Gaee wth verte Goleta oe :

(62 FR 15576, Apr. 1, 1997]

EDITORIAL NOTE: For FEDERAL REGISTER citations affecting part 300, appendix B, see the
Liat of CFR Sections Affected, which appears in the Finding Aids section of the printed vol-
ume and at www.govinfo.gov.

P

APPENDIX C TO PART 300—SWIRLING 9 Operating Conditions and Temperature
FLASK DISPERSANT EFFECTIVENESS Program of GC/MS
TEST, REVISED STANDARD DIsPperRs- 10 Two-Way ANOVA Table
ANT TOXICITY TEST, AND BIOREMEDI- 11 Product Test Data, Total Aromatics

12 Summary Statistics for Product Test
ATION AGENT EFFECTIVENESS TEST Data, Total Aromatics

TABLE OF CONTENTS 13 Example Two-Way ANOVA Table
1.0 Introduction 14 Co Protected LSD Mean Separa-
2.0 Swirling Flask Dispersant Effectiveness tion
Test
3.0 Revised Standard Dispersant Toxicity 1G Enirodwciion
Test 11 Scope and Application. The methods de-
4.0 Bioremediation Agent Hffectiveness scribed below apply to “dispersants, surface
Test . washing agents, surface collecting agents,
5.0 Bioremediation Agent Toxicity Test bioremediation agents, and miscellaneous oil
6.0 Summary Technical Product Test Data spill control agents’ involving subpart J
Format (Use of Dispersants and Other Chemicals) in
40 CFR part 300 (National Oil and Hazardous
References Substances Pollution Contingency Plan).
They are revisions and additions to the
LT GF ESTAS EPA's Standard Dispersant Effectiveness and
Figure Number Toxicity Tests (1). The new Swirling Flask
Dispersant Effectiveness Test is used only
1 Swirling Flask Test Apparatus for testing dispersants. The Revised Stand-
Lis? oF TABLES ard Dispersant Toxicity Test is used for test-
ing dispersants, aa well as surface washing
Table Number agents, surface collecting agents, and mis-

cellaneous oil spill control agents, The bio-
a ee co of “Instant remediation agent effectiveness test is used
aD eae Sy eee for testing bioremediation agents only.

2 Test Oil Characteristics
= 1.2 Definitions. The definitions of

3 Oil Standard Solutions: Concentrations in

ee DCM ee dispersants, surface washing agents, surface
4 Synthetic Seawater [Toxicity Test] aT ae oe Fe uae eo —
5 Test Oil Characteristics: No. 2 Fuel Oil ea nee control agen
6 Analytes Listed Under the Corresponding % © Provide one

a Standard Used in Calculating 2.0 Swirling Flask Dispersant Effectiveness
7 Primary Ions Monitored for Bach Target var

Analyte During GC/MS Analysis 2.1 Summary of Method. This protocol] was
8 Analytes and Reference Compounds developed by Environment Canada to provide

252
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

a relatively rapid and simple testing proce-
dure for evaluating dispersant effcctiveness
(2). It uses a modified Erlenmeyer flask to
which a side spout has been added for remov-
ing subsurface samples of water near the bot-
tom of the flask without disturbing a surface
oil layer. Seawater and a surface layer of oil
are added to the flask. Turbulent mixing is
provided by placing the flask on a standard
shaker table at 150 rpm for 20 minutes to in-
duce a swirling motion to the liquid con-
tents. Following shaking, the flask is imme-
diately removed from the shaker table and
maintained in a stationary position for 10
minutes to allow the oil that will reform a
slick to return to the water's surface. A sam-
ple of water for chemical analysis is then re-
moved from the bottom of the flask through
the side spout, extracted with methylene
chloride (dichloromethane-DCM), and ana-
lyzed for oil content by UV-visible absorp-
tion spectrophotometry at wavelengths of
340, 370, and 400 nm (2).

Filed 06/22/21

Pt. 300, App. C

2.2 Apparatus.

2.2.1 Modified Erlenmeyer Flask. Use 125-
ml glass Erlenmeyer flasks that have been
modified to include an attachment of a glass
side spout that extends from the bottom of
the flask upward to the neck region, as
shown in Figure 1.

2.2.2 Shaker Table. Use a shaker table with
speed control unit with variable speed (40-400
rpm) and an orbital diameter of approxi-
mately 0.75 inches (2 cm) to provide turbu-
lence to solutions in test flasks.

2.2.3 Spectrophotometer. Use a UV-visible
spectrophotometer capable of measuring ab-
sorbance at 340, 370, and 400 nm. A Hitachi
Model U-2000 or equivalent is acceptable for
this purpose.

2.2.4 Glassware. Glassware should consist
of 5-, 10-, 25-, 100-, and 500-m1 graduated cyl-
inders; 125-ml separatory funnels with Teflon
stopcocks; and 10-, 100-, and 1,000-m! volu-
metric flasks and micropipetites.

253

Page 42 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. C

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

Figure |
Swirling Flask Test Apparatus

2.3 Reagents. 2.3.1 Synthetic seawater. The
synthetic sea salt “Instant Ocean,” manu-
factured by Aquarium Systems of Mentor,
OH, can be used for this purpose. The syn-
thetic seawater solution is prepared by dis-
solving 34 g¢ of the salt mixture in 1 liter of
distilled water (ie., a salinity of 34 ppt).
Table 1 provides a list of the ion composition
of the seasalt mixture.

TABLE 1—MAJOR ION COMPOSITION OF
“INSTANT OCEAN” SYNTHETIC SEA SALT

lontc Gon-

% Total

Major lon Weight

GHONS (61>) mnicsiercrsesicness

TABLE 1—MAJOR ION COMPOSITION OF "IN-
STANT OCEAN” SYNTHETIC SEA SALT—Con-
tinued

lonic con
% Tota! | Sentra
Major lon Weight mst Ppt
(art)

1.015 401

0.491 194

0.015 6.0

0.001 745

86.11% | 34,089.50
13.88
99.99%

Following the preparation, the saltwater so-
lution is allowed to equilibrate to the ambi-
ent temperature of the laboratory and
should be in the range of 22 +8 °C.

2.3.2 Test oil, Two EPA/American Petro-
leum Institute (API) standard reference oils,

254

Page 43 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

Prudhoe Bay and South Louisiana crude,
should be used for this test. These oils can be
obtained from the Resource Technology Cor-
poration, 2931 Soldier Springs Road, P.O. Box
1346, Laramie, WY 82070, (307) 742-5452. These
oils have been thoroughly homogenized, as
well as characterized physically and chemi-
cally for previous EPA and API studies, Var-
ious selected parameters are presented in
table 2.

TABLE 2—TEST OIL CHARACTERISTICS

VAL15 °C
?Not calculable when viscosity at 100 °C is less than 2.0.

2.3.8 Methylene Chloride (Dichioromethane-
DCM), pesticide quality. For extraction of all
sample water and oil-standard water sam-
ples.

2.4 Pretest preparation, 2.4.1 Preparation
and analysis of oil standards. 2.4.1.1 Standard
solutions of oil for calibrating the UV-visible
spectrophotometer are prepared with the
specific reference oils and dispersant used for
a@ particular set of experimental test runs.
For experiments with no dispersant, only oil
is used to make the standard solution, For
experiments with the oil plus dispersant, the
standard is made with a 1:10 (v:v) mixture of
the dispersant to the test oil (i.c., a dispers-
ant-to-oil ratio of 1:10). This ratio is used in
the test tank with disperaant added, The
presence of water and certain dispersants in
DCM extracts can affect absorbance readings
in a spectrophotometer. All standard solu-
tions of oil. (and dispersant, if present)
should be prepared in a stepwise manner that
reflects the analytical protocol used for the
experimental water samples.

2.4.1.2 To prepare the standards, prepare a
parent of1-DCM standard by mixing 1 part oil
(plus Mo part premixed dispersant, if applica-
ble) to 9 parts DCM (i.e., 1:10 dilution of the
oil v:v). Add a specific volume of the parent
oil-DCM standard to 30 ml of synthetic sea-
water in a separatory funnel. Extract the oll-
water mixture with 5-ml volumes of DCM
after 15 seconds of vigorous shaking followed

Filed 06/22/21

Pt. 300, App. C

by a 2 minute stationary period to allow for
phase separation for each extraction. Repeat
the extraction using a total of three 5-ml
portions of DCM. Adjust the final DCM vol-
ume for the combined extracts to 20 ml with
DCM in a 25-m1 graduated cylinder.

2.4.1.3 The quantities of oil used to
achieve the desired concentrations in the
final 20-ml DCM extracts for the standard
oil-solutions are summarized in table 3. Spe-
cific masses for ofl amounts in standards are
determined as volumes of oil multiplied by
the density of the oil.

2.4.2 Linear stability calibration of UV-Visi-
ble spectrophotometer.

2.4.2.1 Before DCM-extracts of dispersed
oil-water samples can be analyzed for their
oll content, the UV-visible spectrophotom-
eter must meet an instrument stability cali-
bration criterion. This criterion is deter-
mined with the six oil standards identified in
table 3. Determine the absorbance of stand-
ards at each of the three analytical wave-
lengths (i.e., 340, 870, and 400 nm). Determine
the response factors (RFs) for the test oil at
each of the three analytical wavelengths

using the following equation:
RF, = C/A, qd)
where:

RF, = Response factor at wavelength x (x =
340, 370, or 400 nm)

C = Oil concentration, in mg of oil/ml of
DOM in standard solution

A, = Spectrophatometric absorbance of
wavelength =

TABLE 3—OIL STANDARD SOLUTIONS:
CONCENTRATIONS IN FINAL DCM ExTRACTIONS 1

Volume of
Final oi] con- Total amount
centration Final extract of oll rane ra
(mi of DCm) | I standard |“ Sddad to
(mg) saltwater
4.0 20.0 80.0 890
2.0 20.0 40.0 440
1.0 20.0 20.0 220
0.50 20.0 10.0 110
0.10 | 20.0 2.0 22
0.05 | 20.0 1.0 11

1Assu an oil density of 0.9 and an extraction
ciency of 100% for oll forr the 30-01 of eswator oe

2.4.2.2 Instrument stability for the initial
calibration is acceptable when the RFs for
the five highest standard extracts of oil are
<20% different from the overall mean value
for the five standards. If this criterion is sat-
isfied, analysis of sample extracts can begin,
RFs for the lowest concentration (0.05 mg
oil/ml DCM) are not included in the consider-
ation because the absorbance is close to the
detection limit of the spectrophotometer
(with associated high variability in the
value) for the 1-cm path-length cell used for
measurements, Absorbances 23.5 are not in-
cluded because absorbance saturation occurs
at and above this value.

255

Page 44 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. C

2.4.2.3 If one or more of the standard oil
extracts do not meet this linear-stability cri-
terion, then the “offending’* standard(s) can
be prepared a second time (i.e., extraction of
the specified amount of oil from 30-ml or sea-
water for the “offending” standard according
to the pretest preparation procedure). If re-
Placement of the reanalyzed standard solu-
tion(s) in the standard curve meets the lin-
ear-stability criterion (i.e., n0 RF >20% dif-
ferent from the overall mean), then analysis
of sample extracts can begin.

2.4.2.4 If the initial-stability criterion is
still not satisfied, analysis of sample extract
cannot begin and the source of the problem
(e.g., preparation protocol for the ofl stand-
ards, spectrophotometer stability, etc.) must
be corrected.

24.2.5 The initial six-point calibration of
the UV-visible spectrophotometer at the oil
concentrations identified is required at least
once per test day.

2.56 Test procedure. 2.5.1 Preparation of
premired dispersant oil. Prepare a premixed
dispersant oil by mixing 1 part dispersant to
10 parts oil, Store this mixture in a glass
container. The dispersant effectiveness test
procedures are listed in steps 1-20:

1. Prepare 4 replicates (same test oil and
dispersant), one control (i.¢., no dispersant),
and one method blank and run at the same
time on the shaker table.

2. Add 12042 ml of synthetic seawater to
each of the modified 125-m1 glass Erlenmeyer
flasks. Measure and record the water tem-
perature.

3. Place the flasks securely into the at-
tached slot on the shaker table.

4. Carefully add 100 pl of an oijl-dispersant
solution onto the center of the water’s sur-
face using a positive displacement pipette.

5. Agitate the flasks for 20+1 minutes at
150410 rpm on the shaker table.

6. After the 20+] minutes shaking, remove
the flasks from the shaker table and allow
them to remain stationary for 10+1 minutes
for oil droplet “settling."’

7. At the conclusion of the 10-minute set-
tling period, carefully decant a 30-ml sample
through the side spout of the test flasks into
a 60-ml graduated cylinder.

Nore: Diacard the first 1-2 ml of sample
water to remove nonhomogeneous water-oil
initially contained in the spout.

8. Transfer the samples from the graduated
cylinder into a 125 or 250-ml glass sepa-
ratory funnel fitted with a Teflon stopcock.

9. Add 5 ml of pesticide-quality DCM to the
separatory funnel and shake vigorously for
15 seconds. Release the presaure carefully
from the separatory funnel through the stop-
cock into a fume hood.

10, Allow the funnel to remain in a sta-
tionary position for 2 minutes to allow
phase-separation of the water and DCM.

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

ll. Drain the DCM layer from the sepa-
ratory funnel into a glass-stoppered, 25-ml
graduated glass cylinder.

12, Repeat the DCM-extraction process two
additional times.

13. Combine the three extracts in the grad-
uated cylinder and adjust the final volume to
20-m1 with additional DCM.

14. Analyze the samples using a UV-spec-
trophotometer at 340, 370, and 400 nm-wave-
lengths and determine the quantity of oil as
follows:

C, = (A)x(RF.)x(Vpcem)x(Vie/Vew) (2)
where:

C, = Total mass of dispersed oil in swirling
flask at wavelength x (x = 340, 370, or 400
nm)

A. = Spectrophotometric absorbance at
wavelength x

RF, = Mean response factor at wavelength x
(determined from equation 1)

Voem = Final volume of DCM-extract of
water sample (20 ml)

Vw = Total water volume in swirling flask
vessel (120 ml)

Vew = Volume of water extracted for dis-
persed oil content (30 ml)

16, Obtain three concentration values for
oil in each experimental water sample (340,
370, and 400 nm).

16. Determine the mean of three values as
follows:

Crean = (Cran + Caro + Cano 3 (3)

NOTE: Means will be used for all dispersion-
performance caloulations. Samples where
one of the values for Css, Cro, OF Cano is More
than 30% different from Cea, will be flagged.
Whenever oil measurements are flagged as
having a concentration based on one wave-
length as >30% different from Cmean, raw data
will be evaluated to establish that the meas-
urements are valid. In addition, attempts
will be made to correlate the difference to
oil type, dispersant test, or dispersant used.
If no errors or correlations are apparent and
>10% of all oi] measurements are flagged, the
mean concentration data will be used in the
calculation for dispersant performance and
the subject data will be flagged.

17. Determine the dispersant performance
(i.e., percent of oil that is dispersed, or EFF)
based on the ratio of oil dispersed in the test
system to the total oil added to the system
as follows:

EFF (in %) = (Ciear'Cror) x 100 ()
where:

Crean = Mean value for total mass of dis-
persed oil in the swirling flask deter-
mined by spectrophotometric analysis

Cror = Total mass of oil initially added to
the experimental swirling flask

18, Calculate EFF using equation 4 for con-
pled experiments with and without dispers-
ant (EFF, and EFF,, respectively). EFF, is

256

Page 45 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

the effectiveness of the control and rep-
resents natural dispersion of the oil in the
test apparatus. EFF, is the measured uncor-
rected value.

19. Calculate the final dispersant perform-
ance of a chemical dispersant agent after
correcting for natural dispersion using equa-
tion 5,

EFF) = EFF,—EFF, (5)
where:
EFF, = % dispersed oil due to dispersant
only

EFF, = % dispersed oil with dispersant added
EFF, = % dispersed oil with no dispersant
added

20, Calculate the average dispersant effec-
tiveness value by summing the corrected val-
ues (EFFp) for each of the four replicates for
each of the two test oils and dividing this
sum by eight.

2.6 Performance criterion. The dispersant
product tested will remain in consideration
for addition to the NCP Product Schedule if
the average dispersant effectiveness, as cal-
culated in section 2.5 above, is at least 45%
(i.e., 60% 15%),

2.7 Quality Control (@C) procedures for
measurements of oil concentrations, 2.7.1 UV-
visible epectrophotometric rements. At
least 5% of all UV-visible
spectrophotometric measurementa will be
performed in duplicate as a QC check on the
analytical measurement method, The ab-
sorbance values for the duplicates should
agree within i5% of their mean value.

2.7.2 Method blanks. Analytical method
blanks involve an analysis of seawater
blanks (i.e., seawater but no oil or dispersant
in a swirling flask vessel) through testing
and analytical procedures (3, pp 78-80). Meth-
od blanks are analyzed with a frequency of
at least 1 for every 12 experimental swirling
flask samples. Oil cor rations in method
blanks must be <5% of that occurring for
100% dispersion of oil in testing apparatus.

3.0 Revised standard dispersant toxicity test

3.1 Summary of method, The standard tox-
icity test for dispersants and other products
involves exposing two species (Menidia
beryllina (silversides) and Mysidopsis bahia
(mysid shrimp)) to five concentrations of the
test product and No. 2 fuel oil alone and in a
1:10 mixture of product to oil. To aid in com-
paring results from assays performed by dif-
ferent workers, reference toxicity tests are
conducted using dodecyl sodium sulfate
(DSS) as a reference toxicant, The test
length is 96 hours for Menidia and 48 hours
for Mysidopsis. LCs s are calculated based
on mortality data at the end of the exposure
period (for method of calculation, see section
3.6 below),

3.2 Selection and preparation of teat mate-
rials.

3.2.1 Test organisms,

Filed 06/22/21

Pt. 300, App. C

3.2.1.1 Menidia oberyllino. Obtain fish
(silversides) from a single source for each se-
ries of toxicity tests. In-house cultures are
recommended wherever it is cost-effective;
however, organisms are available from com-
mercial suppliers. Information on the source
of test organisms and any known unusual
condition to which fish were exposed before
use should be included in the data report.
Use of animals previously treated with pes-
ticides or chemotherapeutic agents should be
avoided. Organisms should not be used if
they appear to be unhealthy, discolored, or
show signs of stress. Use 7-day old larval
fish. Fish should be cultured in accordance
with the methods outlined in Middaugh, et
al, (5). There should be no need to acclimate
organisms to the 254] °C temperature rec-
ommended for the toxicity tests if labora-
tory stock cultures of Menidia are main-
tained at the recommended culture tempera-
ture of 2541 °C. If test organisms must be ob-
tained from a commercial source, it may be-
come necessary to acclimate test fish to the
test temperature of 2541 °C, a pH of 8.0+0.2,
and 2042 ppt salinity since changes in tem-
perature may occur during shipping. Elimi-
nate groups of fish having a mortality of
more than 10% during the first 48 hours, and
more than 5% thereafter. During acclima-
tion, organisms should be maintained on a
diet of freshly hatched Artemia (brine
shrimp) nauplii. Feed the fish daily to satia-
tion during the acclimation period, and once
daily during the 96-hour test. Care should be
taken daily to remove excess food and fecal
material from beakers during the test. Use
only those organisms that feed actively and
that appear to be healthy. Organisms should
be free of disease, external parasites, and any
signs of physical damage or stress. Discard
any fish injured or dropped while handling,

3.2.1.2 Mysidopsis bahia. Several methods
for culturing Mysidopsis bahia (mysid
shrimp) may be used and are noted in appen-
dix A of Methods for Measuring the Acute
Toxicity of Effluents and Receiving Watera
to Freshwater and Marine Organisms (6). To
ensure uniformity of mysids, recently
hatched mysids should be collected daily
from stock cultures and identified by the
date of hatch. Mysids used in 48-hour tests
should be from a single day's collection, but
may have an age range of 5-7 days old. In
cases where in-house cultures of mysids are
unavailable, organisms may be purchased
from a commercial ‘source, Information os
the source of test organisms should be sub-
mitted in the data report.

3.2.2 Preparation of experimental water, Fil-
tered natural seawater is recommended for
use since it represents a natural source of
saltwater containing an inherent population
of microorganisms, Synthetic seawater for-
mulated according to the following method
Can serve as an acceptable alternative to fil-
tered, natural seawater for toxicity tests

257

Page 46 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. C

performed in laboratories in which natural
seawater ia unavailable.

3.2.3 Synthetic seawater formation. To pre-
pare standard seawater, mix technical-grade
salts with 900 liters of distilled or
demineralized water in the order and quan-
tities listed in table 4. These ingredients
must be added in the order listed and each
ingredient must be dissolved before another
is added. Stir constantly after each addition
during preparation until dissolution is com-
plete, Add distilled or demineralized water
to make up to 1,000 liters. The pH should now
be 8.040.2. To attain the desired salinity of
2041 ppt, dilute again with distilled or
demineralized water at time of use.

3.3 Sampling and storage of test materials.
Toxicity tests are performed with No. 2 fuel
oil having the characteristics defined in
table 5. Store oil used for toxicity tests in
sealed containers to prevent the loss of
volatiles and other changes. For ease in han-
dling and use, it is recommended that 1,000-
ml glass containers be used. To ensure com-
parable results in the bioassay tests, use oils
packaged and sealed at the source. Dispose of
unused oil in each open container on comple-
tion of dosing to prevent its use at a later
date when it may have lost some of its vola-
tile components. Run all tests in a bioassay
series with oil from the same container and
with organisms from the same group col-
lected or secured from the same source.

TABLE 4—SYNTHETIC SEAWATER

[Toxicity Test]
Salt (g)’
‘Nak ..: 19
‘Brbt; - BHO 13.0
H; BO; 20.0
KBr 67.0
KCI 466.0
CaCi2 - 2H:0 733.0
Na, SO, 2,660.0
MgCl, - 64,0 3,330.0
NaCl 15,650.0
NazSiO, - 8H,0 13.0
EDTA2 0.4
NaHCO; 133.0

‘Amount added to 900 liters of water, as described in the
?Ethylenediamineletraacetate tetrasodium salt.

3.4 General test conditions and procedures
for toxicity tests.

3.4.1 Temperature. For these toxicity tests,
use test solutions with temperatures of 251
*.

3.4.2 Dissolved oxygen and aeration.

3.4.2.1 Menidia. Because oila contain toxic,
volatile materials, and because the toxicity
of some water-soluble fractions of oil and
degradation products are changed by oxida-
tion, special care must be used in the oxy-
genation of test solutions. Aeration during
the test is generally not recommended but
should be used to maintain the required dis-

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

solved oxygen (DO) in cases where low DO is
observed. The DO content of test solutions
must not drop below 60% saturation during
the first 48 hours of a static acute (96-hour)
test and must remain between 40-100% after
the first 48 hours of the test. Aeration at a
Tate of 100+15 bubbles per minute is supplied
by a serological pipette as needed for main-
tenance of DO. If aeration is necessary, all
test chambers should be aerated. At this
rate, and with the proper weight of fish, DO
concentration should remain slightly above 4
ppm over a 96-hour period. Take DO meas-
urements daily.

TABLE 5—TEST OIL GHARACTERISTICS: No. 2

Fue OIL
Characteristic eee ee
Gravity (PAPI) cesscssssessnonnssesesnsnnsevee 32.1 42.8
Viscosity kinematic at 100 °F (cs) ... 2.35 3,00
150 4
i 0
7 10
. 0.35
125 180
‘ 0.16
. 0
i oO
10 45
IBP 347 407
10% (°F) 402 456
50% (°F) aan | 475 530
542 606
596 655
7 0.05

3.4.2.2 Mysidopsis. Achieve sufficient DO by
ensuring that the surface area to volume
ratio of the test solution exposed is large
enough. Oxygen content should remain high
throughout the test because of the low oxy-
gen demand of the organisms. Aeration is
not recommended during 48-hour acute tox-
icity tests unless the DO falls below 60%
saturation.

3.4.3 Controls. With each fish or mysid test
or each series of simultaneous tests of dif-
ferent solutions, perform a concurrent con-
trol test in exactly the same manner as the
other teats and under the conditions pre-
acribed or selected for those tests. Use the
diluent water alone as the medium in which
the controls are held. There must be no more
than 10% mortality among the controls dur-
ing the course of any valid test.

3.4.4 Reference toricant. To aid in comparing
results from tests performed by different
workers and to detect changes in the condi-
tion of the test organisms that might lead to
different results, perform reference toxicity
tests with reagent grade DSS in addition to
the usual control tests. Prepare a stock aolu-
tion of DSS immediately before use by add-
ing 1 gram of DSS per 500 ml of test water
solution. Use exploratory tests before the
full scale tests are begun to determine the

258

Page 47 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

amount of reference standard to be used in
each of the five different concentrations.

3.4.5 Number of organisms, At a minimum, 20
organisms of a given species are exposed for
each test concentration. For the toxicity
test procedures using Menidia, place 10 fish
in each of two jars. For the toxicity tests
using Mysidopais, place 10 larvae in each of
two containers.

3.4.6 Transfer of organisms. Organisms
should be handled as little as possible in
order to minimize stress. Transfer Menidia
and Mysidopsis from the acclimatization
aquaria to the test chambers with a pipette
or a wide-bore, smooth glass tube (4 to B mm
internal diameter) fitted with a rubber bulb.
Dip nets should be avoided when handling
larval fish and mysids. Do not hold fish out
of the water longer than necessary and dis-
card any specimen accidentally dropped or
otherwise mishandled during transfer.

3.4.6.1 Mysidopsis. To have the mysids ready
for study, mysids may be sorted 24 hours
prior to initiation of the 48-hour test. Trans-
fer the mysids to a beaker containing a
small volume of water; this vessel serves as
a holding chamber during randomized trans-
fer of the organisms to test solutions. Mysids
are randomly selected from the batch of
mysids in the holding chamber, and trans-
ferred to 50-ml beakers containing a small
volume of seawater. One mysid is added per
beaker using a small piece of flexible 500-ym
screening until all of the beakers contain
one mysid. The process of random selection
and sorting is continued until the appro-
priate number of mysids has been delivered
to each of the 50-ml beakers. The mysids are
gently released from the 50-ml beakers into
larger beakers filled with an appropriate vol-
ume of 20-ppt seawater (25 °C) to bring the
total volume to 200 ml. The beakers are ran-
domly placed into a temperature-controlled
water bath to acclimate overnight at 25 °C,
The mysids are transferred to larger beakers
(1-liter) for the 48-hour test after the addi-
tion of 800 ml of the test solution. A total of
10 mysids per beaker are used for 48-hour
acute toxicity tests. A minimum of two rep-
licate chambers are used for each test con-
centration and control.

3.4.6.2 Menidia and Mysidopsis are fed 50
brine shrimp nauplil/organism daily during
the 96-hour and 48-hour tests. Excess food
should be removed daily by aspirating with a
pipette.

3.4.7 Test duration and observations. 3.4.7.1
Menidia. Observe the number of dead fish in
each test container and record at the end of
each 24-hour period. Fish are considered dead
upon cessation of respiratory and all other
overt movements, whether spontaneous or in
response to mild mechanical prodding. Re-
move dead fish as soon as observed, Also
note and report when the behavior of test
fish deviates from that of control fish. Such
behavioral changes would include variations

Filed 06/22/21

Pt. 300, App. C

in opercular movement, coloration, body ori-
entation, movement, depth in container,
schooling tendencies, and others. Abnormal
behavior of the test organisms (especially
during the first 24 hours) is a desirable pa-
rameter to monitor in a toxicity test be-
cause changes in behavior and appearance
May precede mortality. Toxicants can re-
duce an organism's ability to survive natural
stresses. In these cases, the mortality is not
directly attributed to the toxicant, but most
certainly is an indirect effect. Reports on be-
havioral changes during a toxicity test can
give insight into the non-acute effects of the
tested material. At the end of the 96-hour pe-
riod, terminate the fish tests and determine
the LCs values. The acute toxicity test is
terminated after four days of exposure. The
number of surviving fish are counted and re-
corded for each chamber in accordance with
standard EPA methods (6). The LCs, is cal-
culated using survival data from the test in
accordance with the methods described in
the guidelines (6).

3.4.7.2 Mysidopsis. Terminate the mysid
test after 48 hours of incubation, To count
the dead animals accurately, place the expo-
sure vessels on a light table such that light
passes through the bottom of the vessel.
Most of the dead mysids will be on the bot-
tom of the beaker and can readily be seen
against the background of the light table.
Also search the top of the liquid for mysids
trapped there by surface tension. Exercise
caution when determining death of the ani-
mals, Occasionally, an animal appears dead,
but closer observation shows slight move-
ment of an appendage or a periodic spasm of
its entire body. For these tests, animals ex-
hibiting any movement when touched with a
pipette tip are considered alive. Account for
all test animals to ensure accuracy since
Mysidopsis bahia may disintegrate or be can-
nibalized by other mysids. Consider individ-
uals not accounted for as dead. At the end of
48 hours of exposure, terminate the mysid
assay and determine the LCs values in ac-
cordance with the methods described in the
guidelines (6).

3.4.8 Physical and chemical determinations.
3.4.8.1 Menidia. Determine the temperature,
DO, and pH of the test solutions before the
fish are added and at 24-, 48-, 72-, and 96-hour
exposure intervals. It is necessary to take
measurements from only one of the rep-
licates of each of the toxicant series.

3.4.8.2 Mysidopsis. Determine the tempera-
ture, DO, and pH of the test solutiona before
the nauplii are added and at the 24- and 44-
hour exposure interval. Measure DO and pH
in only one of the replicates of each of the
toxicant series.

3.4.9 Testing laboratery. An ordinary heat-
ed or air-conditioned laboratory room with
thermostatic controls suitable for maintain-
ing the prescribed test temperatures gen-
erally will suffice to conduct the toxicity

259

Page 48 of 50
Case 1:21-cv-00119-RDM Document 53-1

Pt. 300, App. C

tests. Where ambient temperatures cannot
be controlled to 264] °C, use water baths with
the necessary temperature controls.

3.4.10 Test containers. For tests with fish
or mysids, use 1-liter glass beakers meas-
uring approximately 10 cm in diameter, In
conducting the test, add to each beaker 1
liter of the test solution or seawater formu-
lation aerated to saturation with DO. To add
the liter volume easily and accurately, use a
large volume (l-liter) graduated cylinder.
Process all required glassware before each
test. Immerse in normal hexane for 10 min-
utes. Follow this with a thorough rinse with
hot tap water; three hot detergent scrubs; an
additional hot tap-water rinse; and three
rinses with distilled water. Oven or air dry
the glassware in a reasonably dust-free at-
mosphere.

3.6 Preparation of test concentrations. 3.5.1
Menidia. Place test jars (approximately 22.5
cm in height, 15 cm in diameter, 11 cm in di-
ameter at the mouth) containing 2 liters of
synthetic seawater on a reciprocal shaker,
The shaker platform should be adapted to
hold firmly six of the toxicity test jars. Add
the desired amount of the petroleum product
(if applicable) under test directly to each
test jar. Dispense the appropriate amount of
toxicant (if applicable) into the jara with a
pipette. Tightly cap the test jars and shake
for 5 minutes at approximately 315 to 333 2-
em (0.75-inch) strokes per minute in a recip-
rocal shaker or at approximately 150 to 160
rpm on orbital shakers. At the completion of
shaking, remove the jars from the shaker
and dispense 1 liter of the mixture to each of
the 1-liter glass beakers. Randomly place
beakers in a constant-temperature water
bath or room, take water quality measure-
ments, add fish, and initiate aeration.

3.5.2 Mysidopsis. 3.5.2.1 To prepare test
solutions for products and oil/product mizx-
tures, blend or mix the test solutions with an
electric blender having: speeds of 10,000 rpm
or less; a stainless-steel cutting assembly;
and a 1-liter borosilicate jar. To minimize
foaming, blend at speeds below 10,000 rpm.

3.5.2.2 For the product test solution, add
550 ml of the synthetic seawater to the jar,
then with the use of a gas-tight calibrated
glass syringe with a Teflon-tipped plunger,
add 0.55 ml of the product and mix for 5 sec-
onds.

3.6.2.3 For the oil test solution, add 550 ml
of the synthetic seawater to the jar. Then
with the use of a gas-tight calibrated glass
syringe equipped with a Teflon-tipped plung-
er, add 0.55 ml of the oil and mix for 5 sec-

onda.

3.5.2.4 For the oil/product mixture, add 550
ml of the synthetic seawater to the mixing
jar. While the blender is in operation, add 0.5
ml of the oil under study with the use of a
calibrated syringe with a Teflon-tipper
plunger and then 0.05 ml of the product as in-
dicated above. Blend for 5 seconds after addi-

Filed 06/22/21

40 CFR Ch. | (7-1-19 Edition)

tion of product. These additions provide test
solutions of the product, oil, and the oil/
product mixture at concentrations of 1,000
ppm.

3.5.2.5 Immediately after the test solu-
tions are prepared, draw up the necessary
amount of test solution with a gas-tight Tef-
lon-tipped glass syringe of appropriate size
and dispense into each of the five containers
in each series. If the series of five concentra-
tions to be tested are 10, 18, 32, 56, and 100
ppm, the amount of the test solution in the
orier of the concentrations Listed above
would be as follows: 10, 18, 32, 56, and 100 ml.

3.5.2.6 Each time a syringe is to be filled
for dispensing to the series of test con-
tainers, start the mixer and withdraw the de-
sired amount in the appropriate syringe
while the mixer is in operation. Turn off im-
mediately after the sample is taken to limit
the loas of volatiles.

8.5.2.7 Use exploratory testa before the
full-scale test is set up to determine the con-
centration of toxicant to be used in each of
the five different concentrations. After add-
ing the required amounts of liquid, bring the
volume in each of the test containers up to
800 m1 with the artificial seawater. To ensure
keeping each of the series separate, des-
ignate on the lid of each container the date,
the material under test, and its concentra-
tion.

3.5.2.8 When the desired concentrations
are prepared, gently release into each beaker
the 10 test Mysidopsis (previously transferred
into 200 ml of medium). This provides a vol-
ume of 1 liter in each test chamber. A pair of
standard cover glass forceps with flat. bent
ends is an ideal tool for handling and tipping
the small beaker without risk of contami-
nating the medium,

3.5.2.9 After adding the test animals, incu-
bate the test beakers at 2541 °C for 48 hours.
Recommended lighting is 2.000 lumens/‘m?
(200 ft-c) of diffused, constant, fluorescent il-
lumination,

3.6.2.10 Wash the blender thoroughly after
use and repeat the above procedures for each
series of tests. Wash the blender as follows:
rinse with normal hexane; pour a strong so-
lution of laboratory detergent into the
blender to cover the blades; fill the container
to about half of its volume with hot tap
water; operate the blender for about 30 sec-
onds at high speed; remove and rinse twice
with hot tap water, mixing each rinse for 5
seconds at high speed; and then rinse twice
with distilled water, mixing each rinse for 5
seconds at high speed.

3.6 Calculating and reporting. At the end of
the test period, the toxicity tests are termi-
nated and the LCs, values are determined.

260

Page 49 of 50
Case 1:21-cv-00119-RDM Document 53-1

Environmental Protection Agency

3.6.1 Calculations. The LCso is the con-
centration lethal to 50% of the test popu-
lation. It can be calculated as an inter-
polated value based on percentages of orga-
nisms surviving at two or more concentra-
tions, at which less than half and more than
half survived. The LOso can be estimated
with the aid of computer programs or graph-
ic techniques (log paper). The 95% confidence
intervals for the LCso estimate should also be
determined.

3.6.2 Reporting. The test product and oil
and their source and storage are described in
the toxicity test report, Note any observed
changes in the experimental water or the
test solutions. Also include the species of
fish used; the sources, size, and condition of
the fish; data of any known treatment of the
fish for disease or infestation with parasites
before their use; and any observations on the
fish behavior at regular intervals during the
tests, In addition to the calculated LCs val-
ues, other data necessary for interpretation
(e.g., DO, pH, other physical parameters, and
the percent survival at the end of each day of
exposure at each concentration of toxicant)
should be reported.

3.7 Summary of procedures. 3.7.1 Menidia:

1. Prepare adequate stocks of the appro-
priate standard dilution water.

2, Add 2 liters of the standard dilution
water to the test jars. Each test consists of
5 replicates of each of 5 concentrations of the
test material, a control series of 5 beakers,
and @ standard veference geties of 5 different
concentrations for a total of 35 beakers. Si-
multaneous performance of toxicity tests on
the oil, product, and oil/product mixture re-
quires a total of 105 beakers,

3. Add the determined amount (quarter
points on the log scale) of test material to
the appropriate jars. Preliminary tests will
be necessary to define the range of definitive
test concentrations,

4. Cap the jars tightly with the Teflon-
lined screw caps and shake for 5 minutes at
$15 to 333 2-cm (0,.75-inch) strokes per minute
on a reciprocal shaker.

5. Remove the jars from the shaker, take
water quality data, dispense 1 liter of solu-
tion to the l-liter glass beaker, and add 10
acclimated fish per beaker.

6, Aerate with 100415 bubbles per minute
through a 1-ml serological pipette, as needed,
to maintain DO above 4.0 mg/l.

7. Observe and record mortalities, water
quality, and behavioral changes every 24
hours.

8. After 96 hours, terminate the test, and
calculate LCso values and corresponding con-
fidence HMmits.

3.7.2 Mysidopsis:

1, Initiate the procedure for hatching the
Mysidopsis in sufficient time before the tox-
icity teat is to be conducted ao that 5-7 day
old larvae are available.

Filed 06/22/21

Pt. 300, App. C

2. With the use of a small pipette, transfer
10 Mysidopsis into small beakers, each con-
taining 200 ml of the proper synthetic sea-
water,

3. To prepare the test stock product and oil
solutions, add 550 ml of the artificial sea-
water to the prescribed blender jar. By
means of a gas-tight glass syringe with a
Teflon-tipped plunger, add 0.55 ml of the
product (or oil) and mix at 10,000 rpm for 5
seconds, To prepare the test stock oil/prod-
uct mixture, add 550 ml of the standard sea-
water to the blender jar. While the blender is
in operation (10,000 rpm), add 0.5 ml of the
oil, then 0.05 ml of the product with the use
of a calibrated syringe with a Teflon-tipped
plunger. Blend for 5 seconds after adding the
product. One ml of these stock solutions
added to the 100 ml of standard seawater in
the test containers yields a concentration of
10 ppm product, oil, or oil/product combina-
tion (the test will be in a ratio of 1 part prod-
uct to 10 parts of oil).

4. Bach test consists of 5 replications of
each of 5 concentrations of the material
under study, a control series of § beakers and
a standard reference aeries of 5 differant con-
centrations, for a total of 35 beakers. Simul-
taneous performance of toxicity tests on the
oil, product, and oil/product mixture requires
a total of 105 beakers. Immediately after pre-
paring the test solution of the product or oil/
product solution, and using an appropriately
sized syringe, draw up the necessary amount
of test solution and dispense into each of the
five containers in each series, Each time a
syringe is to be filled for dispensing to the
series of teat containers, start the mixer and
withdraw the desired amount in the appro-
priate syringe while the mixer is in oper-
ation. Turn mixer off immediately after the
sample is taken to limit the loss of volatiles.
After adding the required amount of the test
oil/product or product mixture, bring the
volume of liquid in each of the test con-
tainers up to 900 ml with the artificial sea-
water. When the desired concentrations have
been prepared, gently release into each beak-
er the 10 mysida previously tranaferred into
200 ml of medium. 'This provides a volume of
1 liter in each test chamber.

5. Wash the blender as preacribed for each
series of teats.

6. Incubate the test beakers at 25+1 °C for
48 hours with the prescribed lighting.

7. Terminate the experiment after 48 hours,
observe and record the mortalities, and de-
termine the LCs 8s and corresponding con-
fidence limits.

4.0 Bioremediation agent effectiveness test

4.1 Summary of method. The bioremedi-
ation agent effectiveness testing protocol is
designed to determine a product’s ability to
biodegrade oil by quantifying changes in the

261

Page 50 of 50
